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                       IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                                          )
 East Bay Sanctuary Covenant, et al.,                     )
                                                          )
                  Plaintiffs,                             )
                                                          )
                  v.                                      )      Case No.: 18-cv-06810-JST
                                                          )
 Joseph R. Biden, President of the United States, et al., )
                                                          )
                  Defendants.                             )
                                                          )
                                                          )

                           DECLARATION OF JAIME PAREDES

I, Jaime Paredes, declare as follows:

1.     I submit this declaration in support of Plaintiffs’ Reply to Their Motion for Summary

Judgment and Opposition to Defendants’ Cross Motion. I have personal knowledge of the facts

set forth herein, and, if called as a witness, I could and would testify competently and truthfully

as follows:

2.     On Thursday, June 22, 2023, I downloaded a document from the website of the Strauss

Center for International Security and Law of the University of Texas at Austin, at

https://www.strausscenter.org/publications/asylum-processing-at-the-u-s-mexico-border-may-

2023/. The document is a report by Stephanie Leutert and Caitlyn Yates titled “Asylum

Processing at the U.S.-Mexico Border: May 2023.” The report was published online on May 31,

2023. Attached as Exhibit A is a true and correct copy of that report.

3.     On Thursday, June 22, 2023, I downloaded a document from the website of Human

Rights First, at https://humanrightsfirst.org/library/a-line-that-barely-budges-u-s-limiting-access-

to-asylum/. The document is a report prepared by Christina Asencio and others titled “A Line

that Barely Budges: U.S. Limiting Access to Asylum – Nogales, Arizona Port of Entry.” The
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report was published online on June 9, 2023. Attached as Exhibit B is a true and correct copy of

that report.

4.        On Friday, June 23, 2023, I downloaded a document from the website of the San Diego

Union Tribune, at https://www.sandiegouniontribune.com/news/immigration/story/2023-05-

20/border-asylum-seekers-turn-backs-ports. The document is a May 20, 2023 news article

written by Kate Morrissey titled “U.S. Border Officials Have Been Turning Asylum Seekers

Away at Ports of Entry Despite New Rules.” Attached as Exhibit C is a true and correct copy of

that article.

5.        On Friday, June 23, 2023, I downloaded a document from the website of the International

Rescue Committee, at https://www.rescue.org/sites/default/files/2023-

06/Limits%20on%20Access%20to%20Asylum%20After%20Title%2042.pdf. The document is

a report prepared by the International Rescue Committee and other organizations titled “Limits

on Access to Asylum After Title 42: One Month of Monitoring U.S.-Mexico Border Ports of

Entry.” The report was published online on June 23, 2023. Attached as Exhibit D is a true and

correct copy of that report.



I, Jaime Paredes, declare under penalty of perjury of the laws of the State of California and the

United States of America that the foregoing is true and correct to the best of my knowledge and

belief.

          Executed on June 23, 2023, in Oakland, California.



          __________________________________
             ______
                 _ _______
                         __
                         __
                         __________________
                       JAIME
                      JJA
                        AIME PAREDES




                                                 2
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                 Exhibit A
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Asylum Processing at the
U.S.-Mexico Border:
May 2023




              BY STEPHANIE LEUTERT AND CAITLYN YATES
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INTRODUCTION

Since November 2018, the Robert Strauss Center for International Security and Law at the University of Texas
at Austin has documented asylum processing at ports of entry along the U.S.-Mexico border through quarterly
UHSRUWV6LQFHWKHLULQFHSWLRQWKHVHUHSRUWVKDYHGRFXPHQWHG¿YHDV\OXPSURFHVVLQJVWDJHVRYHUWKHSDVW¿YH
years: 1) initial metering practices and waitlists; 2) a blanket ban on asylum processing under Title 42; 3) Title
42 exception programs; 4) the CBP One application rollout under Title 42 and; 5) the CBP One application and
port of entry asylum processing after Title 42.

7KH¿UVWDV\OXPSURFHVVLQJVWDJHEHJDQLQ-XO\ZKHQ86&XVWRPVDQG%RUGHU3URWHFWLRQ &%3 RI¿FHUV
VWDUWHGLQIRUPLQJDUULYLQJDV\OXPVHHNHUVWKDW86SRUWVRIHQWU\ZHUHIXOO6LPXOWDQHRXVO\&%3RI¿FHUVRQO\
DFFHSWHGDVSHFL¿HGQXPEHURIDV\OXPVHHNHUVHDFKGD\LQDSURFHVVNQRZQDVPHWHULQJ$VPHWHULQJEHFDPH
VWDQGDUGL]HGDW86SRUWVRIHQWU\LQGLYLGXDOVFLYLOVRFLHW\JURXSVDQG0H[LFDQJRYHUQPHQWRI¿FLDOVEHJDQ
forming metering waitlists to organize growing queues of asylum seekers in Mexican border cities.1

The second asylum processing stage began in March 2020, during the Covid-19 pandemic, when CBP stopped
DFFHSWLQJDV\OXPVHHNHUVDWSRUWVRIHQWU\XQGHUD&HQWHUIRU'LVHDVH&RQWURO¶V &'& UHJXODWLRQUHIHUUHGWRDV
Title 42 authority. This authority allowed Border Patrol agents to immediately expel apprehended individuals
of certain nationalities, including asylum seekers, to the nearest Mexican city or to their home countries. It
also blocked asylum seekers from making claims at U.S. ports of entry.2 Under Title 42, many of the asylum
waitlists along the border were frozen—meaning that list managers did not allow any new individuals to add
their names—and in some cities, they were dissolved altogether.3

For brief periods in 2021 and then again beginning in April 2022, the United States entered its third stage of
asylum processing by allowing Title 42 exceptions for asylum seekers along the border. These exceptions
allowed vulnerable individuals in Mexican border cities to enter the United States and request asylum.
However, the number of vulnerable individuals was larger than the number of Title 42 exception slots, which
led to Title 42 exception waitlists in certain cities. These lists were similar to the previous metering waitlists.
However, Mexican government entities, civil society organizations, and lawyers all kept different Title 42
exception waitlists, and there were often multiple lists in each city. The Robert Strauss Center’s August 2022
DQG1RYHPEHUDV\OXPSURFHVVLQJXSGDWHVLQFOXGHG7LWOHH[FHSWLRQZDLWOLVWVLQWKHLURI¿FLDOFRXQWVRI
individuals waiting along the border.

2Q-DQXDU\&%3LPSOHPHQWHGWKHIRXUWKVWDJHRIDV\OXPSURFHVVLQJDORQJWKHERUGHUZKHQLWEHJDQ
requiring asylum seekers to use a mobile application known as “CBP One” to make an asylum claim at a U.S.
port of entry. Through this application, individuals located in Central and Northern Mexico can submit certain
information—including biographical and demographic details, travel history, and the individual’s sponsor
LQIRUPDWLRQ²DQGUHTXHVWDSURFHVVLQJDSSRLQWPHQWDWD86SRUWRIHQWU\%HJLQQLQJLQ-DQXDU\URXJKO\
740 appointments became available at a set time each morning. Since this process allowed asylum seekers to
make appointments directly with CBP, list managers dissolved all remaining metering and Title 42 exception
waitlists. However, since Title 42 was still in place, individuals could only seek asylum with a CBP One
appointment and could not directly approach a port of entry.




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2Q0D\WKH7LWOHSXEOLFKHDOWKRUGHUH[SLUHG²XVKHULQJLQWKH¿IWKDQGFXUUHQWDV\OXPSURFHVVLQJ
stage along the border. As of late May 2023, the CBP One application continues to be the primary method for
accessing asylum at ports of entry. However, after Title 42, CBP adjusted the system for soliciting appointments
through the application, now allowing individuals in Central or Northern Mexico to request an appointment
during a 23 hour window, and then, if offered an appointment, allowing them another 23 hour window to
accept. Additionally, the number of appointments increased from 740 a day to approximately 1,000 a day. In
the week after Title 42 ended, CBP reported processing an average of 1,070 people a day through CBP One
appointments.4

In May 2023, only eight ports of entry along the U.S.-Mexico border were processing CBP One appointments.
Figure 1 shows the status of CBP One applications by city. Green circles indicate cities with CBP One
appointments and red circles indicate cities without CBP One appointments.



                  Figure 1: Ports of Entry Offering CBP One Appointments (May 2023)




                                                  Author’s elaboration. Data collected from May 22, 2023, to May 25, 2023.




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While the application has gone through a series of changes aimed at improving accessibility, the CBP One
DSSOLFDWLRQVWLOOLQYROYHVFKDOOHQJHVIRUDV\OXPVHHNHUV7KH¿UVWDUHDFFHVVLELOLW\KXUGOHVDVDV\OXPVHHNHUV
QHHGWREHOLWHUDWHVSHDNRQHRIWKHDSSOLFDWLRQV¶WKUHHODQJXDJHV (QJOLVK6SDQLVKDQG+DLWLDQ&UHROH KDYH
access to a cell phone with cell or internet service, and have basic knowledge of the new system.5 If these
hurdles are surmounted, the next set of challenges center around the application’s registration process, with
DV\OXPVHHNHUVVWLOOUHSRUWLQJFUDVKHVORRSLQJHUURUPHVVDJHVDQGIDFLDOFRPSDULVRQÀDZVDOWKRXJKWRDOHVVHU
extent than during the initial application rollout in early 2023. However, the most pressing issue continues to
be that the number of daily appointments is less than the number of waiting individuals. This means that some
individuals may wait for weeks or months before receiving an appointment.

:LWK7LWOH¶VHQGWKH86JRYHUQPHQWDOVRDQQRXQFHGDQHZ¿QDOUXOHWLWOHG³&LUFXPYHQWLRQRI/DZIXO
Pathways,” which affects asylum processing at the U.S.-Mexico border.67KLV¿QDOUXOHPDNHVQRQ0H[LFDQ
individuals ineligible for asylum if they do not enter the United States via a CBP One appointment. However,
the rule also includes narrow exceptions, such as if an individual 1) presents at a port of entry and can prove
an inability to access the CBP One application, 2) enters the United States through a separate parole process
 ZKLFKDUHFXUUHQWO\RQO\DYDLODEOHWRLQGLYLGXDOVIURP&XED+DLWL1LFDUDJXD9HQH]XHOD8NUDLQHDQG
Afghanistan), or 3) was denied asylum in a country en route to the United States. Individuals who present
at ports of entry but do not fall into these categories are subject to the rule and its presumption of asylum
ineligibility. Some individuals—including those who may meet these exception criteria—have struggled to even
access ports of entry following Title 42’s expiration. In some cities, Mexican authorities have sought to control
access to ports of entry to avoid lines of waiting asylum seekers.

This report provides an asylum processing update along the U.S.-Mexico border and focuses on the CBP
One appointment process, asylum processing at ports of entry, waiting asylum seekers, and migrant shelters.
Overall, asylum seekers continue to face unstable living conditions and security risks in Mexican border cities.
Many shelters are full, a number of individuals are renting rooms, staying in hotels, or sleeping on the street.
,Q0DWDPRURV5H\QRVDDQG&LXGDG-XiUH]WHQWFDPSVKDYHVSUXQJXSZLWKWKRXVDQGVRIRFFXSDQWV&HUWDLQ
groups of asylum seekers also continue to experience additional challenges. Civil society organizations report
that Black, LGBTQ+, Indigenous, and non-Spanish speaking asylum seekers have faced targeted discrimination
while waiting in Mexican border cities.

The May 2023 asylum processing update draws on phone and WhatsApp interviews with asylum seekers,
JRYHUQPHQWRI¿FLDOVPHPEHUVRIFLYLOVRFLHW\RUJDQL]DWLRQVDQGOHJDOVHUYLFHSURYLGHUVRQERWKVLGHVRIWKH
ERUGHUIURP0D\WKURXJK0D\,WDOVRUHOLHVRQORFDOQHZVDUWLFOHVWR¿OOLQDQ\JDSV




3                                                                                                      MAY 2023
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Asylum Processing at the Border Waitlists: May 2023


   Mexican City        CBP One        # of CBP One                        City Conditions
                     Appointments     Appointments



    Matamoros,           Open         ~300 people per   (DFKGD\&%3SURFHVVHVDQHVWLPDWHGSHRSOH
    Tamaulipas                             day7         from Matamoros. This includes 250 individuals
                                                        with CBP One appointments and 50 people via
                                            —           allowances by Mexico’s National Migration
                                                        ,QVWLWXWH Instituto Nacional de Migración, INM).8
                                       ~250 people
                                       via CBP One      Mexican authorities control access to the city’s
                                       appointments     LQWHUQDWLRQDOEULGJHV(DFKGD\,10DOORZV
                                                        approximately 50 people to enter the bridge for CBP
                                       ~50 people via   processing, referred to here as “INM allowances.”
                                      INM allowances    Local shelters and organizations send vulnerable
                                                        people—such as families and single mothers—
                                            —           directly to the bridge.9

                                       May 22, 2023     In the days before Title 42 ended, thousands of
                                                        migrants crossed the Rio Grande on rafts and
                                                        turned themselves in to Border Patrol. Since then,
                                                        the number of people crossing the Rio Grande has
                                                        plummeted. However, Matamoros shelters report
                                                        WKDWWKH\DUH¿OOHGWRFDSDFLW\ZLWKSHRSOHZKRDUH
                                                        hoping to cross.

                                                        Thousands of people continue to live in a tent
                                                        camp along the Rio Grande. The number of tent
                                                        camp residents dropped precipitously as Title 42
                                                        expired, but civil society organizations have stated
                                                        that the number rebounded in the following days.10
                                                        Following Title 42’s end, INM estimated that 5,500
                                                        migrants were in Matamoros.11




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Asylum Processing at the Border Waitlists: May 2023 (continued)


    Mexican City        CBP One        # of CBP One                       City Conditions
                      Appointments     Appointments



     Reynosa,             Open        ~200 people per   (YHU\GD\&%3SURFHVVHVDSSUR[LPDWHO\
    Tamaulipas                             day          people from Reynosa. This includes around 170
                                                        people through CBP One appointments and 30
                                             —          people via INM allowances.

                                        ~170 people     Mexican authorities control access to the city’s
                                        via CBP One     LQWHUQDWLRQDOEULGJHV(DFKGD\,10DOORZVDURXQG
                                        appointments    30 people to cross the bridge for CBP processing.
                                                        Local organizations send urgent medical cases
                                       ~30 people via   directly to the bridge.
                                      INM allowances
                                                        The city’s shelters report that they are full, with
                                             —          URXJKO\PLJUDQWVLQ6HQGDGH9LGD,DQG
                                                        SHRSOHLQ6HQGDGH9LGD,,
                                       May 22, 2023     Migrants who are unable to secure a spot in one of
                                                        the city’s shelters are renting rooms or living in tent
                                                        camps. There are two tent camps in the city. The
                                                        ¿UVWLVDQHQFDPSPHQWQHDUWKH5LR*UDQGHZLWK
                                                        an estimated 1,200 residents as of May 18, 2023.12
                                                        The second is an encampment outside of the Senda
                                                        GH9LGD,VKHOWHUZLWKDQHVWLPDWHGIDPLOLHV
                                                        waiting for a space in one of the shelters.

                                                        Currently the majority of these individuals are from
                                                        Haiti, Honduras, and Mexico with fewer individuals
                                                        IURP*XDWHPDOD(O6DOYDGRU&RORPELD1LFDUDJXD
                                                        and China. At the end of Title 42, INM estimated
                                                        that there were roughly 7,000 migrants residing in
                                                        Reynosa.13

                                                        Local shelters report an increase in insecurity in the
                                                        tent camps and more migrant kidnappings at the
                                                        city’s bus station.




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Asylum Processing at the Border Waitlists: May 2023 (continued)


   Mexican City        CBP One                                           City Conditions
                     Appointments



   Nuevo Laredo,         Open          ~80 people per   In total, CBP processes approximately 80 people
    Tamaulipas                              day         from Nuevo Laredo each day. This includes around
                                                        65 people with CBP One appointments and 15
                                            —           people via INM allowances.

                                        ~65 people      Mexican authorities control access to the city’s
                                       via CBP One      LQWHUQDWLRQDOEULGJHV(YHU\GD\,10FRQWDFWVD
                                       appointments     different local shelter and asks them to send 15
                                                        people to the port of entry.
                                       ~15 people via
                                      INM allowances    Insecurity continues to be widespread in Nuevo
                                                        Laredo. The criminal organization that operates in
                                            —           Nuevo Laredo has allegedly begun requesting that
                                                        all individuals traveling to the port of entry—with
                                       May 22, 2023     or without CBP One appointments—pay them a fee.
                                                        Cartel lookouts also continue to screen for arriving
                                                        migrants at the city’s airport and bus stations.14

                                                        There are fewer migrants in Nuevo Laredo than in
                                                        other Tamaulipas cities. On May 18, 2023, INM
                                                        estimated that there were only several hundred
                                                        migrants in the city, compared to thousands in
                                                        Reynosa and Matamoros. The majority of migrants
                                                        LQ1XHYR/DUHGRZHUHIURP(O6DOYDGRU0H[LFR
                                                        DQG9HQH]XHODDPRQJRWKHUFRXQWULHV15

  Piedras Negras,        Open          ~60 people per   (YHU\GD\&%3SURFHVVHVDSSUR[LPDWHO\SHRSOH
     Coahuila                               day         from Piedras Negras. All of these individuals
                                                        have CBP One appointments, and many received
                                            —           their appointments while residing in other parts of
                                                        Mexico.
                                        ~60 people
                                       via CBP One      The shelters in Piedras Negras are near capacity
                                       appointments     and some migrants are renting rooms or sleeping
                                                        in abandoned houses. The majority of the migrants
                                            —           DUHIURP+RQGXUDV9HQH]XHOD+DLWL(FXDGRUDQG
                                                        Colombia. After Title 42’s end, INM estimated
                                       May 22, 2023     that there were roughly 420 migrants in Piedras
                                                        Negras.16




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Asylum Processing at the Border Waitlists: May 2023 (continued)


     Mexican City       CBP One        # of CBP One                       City Conditions
                      Appointments     Appointments



    Piedras Negras,                                      -XVWEHIRUH7LWOHH[SLUHGPDQ\PLJUDQWVLQWKH
       Coahuila                                          city crossed the Rio Grande and turned themselves
      (continued)                                        in to Border Patrol. Local shelters report that two
                                                         9HQH]XHODQVGURZQHGZKLOHDWWHPSWLQJWRFURVVWKH
                                                         river during that time. Some migrants continue to
                                                         cross irregularly into the United States.

    Ciudad Acuña,        Closed             N/A          There is no processing via CBP One appointments
      Coahuila                                           in Ciudad Acuña. CBP has processed a small
                                                         number of people who crossed the international
                                                         bridge.

                                                         &LYLO3URWHFWLRQ 3URWHFFLyQ&LYLO FRQWLQXHVWR
                                                         maintain two asylum waitlists—one for single
                                                         adults and one for families—but the local agency is
                                                         not adding any new individuals to the lists. Many of
                                                         the people who were waiting on the two lists are no
                                                         longer in the city.

    Ciudad Juárez,        Open         ~150 people per   (DFKGD\&%3SURFHVVHVDQHVWLPDWHG
      Chihuahua                             day          LQGLYLGXDOVIURP&LXGDG-XiUH]$OORIWKHVH
                                                         individuals have CBP One appointments.17 CBP
                                             —           has also processed a small number of people who
                                                         crossed the international bridges.
                                         150 people
                                        via CBP One      In the days leading up to Title 42’s end, large
                                        appointments     numbers of people crossed the Rio Grande to reach
                                                         (O3DVR$WWKLVWLPHWKHQXPEHURISHRSOHUHVLGLQJ
                                             —           in the city’s tent camps dropped dramatically. These
                                                         WHQWFDPSVZHUHLQIURQWRIWKH&LXGDG-XiUH]
                                        May 23, 2023     City Hall and the INM detention center, where 40
                                                         PLJUDQWVGLHGLQD¿UHRQ0DUFK2Q0D\
                                                         WKH&LXGDG-XiUH]PXQLFLSDOSROLFHIRUFHG
                                                         the remaining migrants in the tent camps to move to
                                                         shelters.

                                                         7KHVKHOWHUVWKURXJKRXW&LXGDG-XiUH]DUHIXOO
                                                         and migrants are also renting rooms. The majority
                                                         RIPLJUDQWVLQWKHFLW\DUHIURP9HQH]XHODZLWK
                                                         smaller numbers from Colombia and countries




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Asylum Processing at the Border Waitlists: May 2023 (continued)


   Mexican City         CBP One        # of CBP One                       City Conditions
                      Appointments     Appointments



   Ciudad Juárez,                                      throughout Central America. Immediately following
     Chihuahua                                         the lifting of Title 42, INM estimated that there were
     (continued)                                       more than 10,000 migrants in the city.18

    Agua Prieta,         Closed            N/A         There is no CBP One appointment processing in
      Sonora                                           Agua Prieta. However, local organizations report
                                                       that up to 30 people per day can be processed at the
                                                       Raul Hector Castro port of entry.

                                                       However, the criminal organization that operates in
                                                       Agua Prieta is allegedly charging migrants to enter
                                                       the city and access the port of entry. Therefore, it is
                                                       unclear how many—or if any—migrants have been
                                                       able to reach the port of entry and request asylum.

                                                       Since the end of Title 42, local organizations report
                                                       WKDW86RI¿FLDOVUHWXUQWRPLJUDQWVWR$JXD
                                                       Prieta each day, who are mostly Mexican nationals.
                                                       This is a roughly 50 percent decrease from when
                                                       Title 42 was still active.

                                                       The majority of migrants in the city are from
                                                       Mexico, with fewer numbers of individuals from
                                                       Guatemala. The shelters are not full, and many
                                                       migrants are renting rooms.




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Asylum Processing at the Border Waitlists: May 2023 (continued)


     Mexican City       CBP One        # of CBP One                         City Conditions
                      Appointments     Appointments



    Nogales, Sonora       Open          ~70 people a      (DFKGD\&%3SURFHVVHVDQHVWLPDWHGSHRSOH
                                            day           from Nogales. This includes approximately 55
                                                          people through CBP One appointments and 15
                                             —            people a day from a line of asylum seekers outside
                                                          the DeConcini port of entry.
                                        ~55 people
                                       via CBP One        After Title 42’s end, asylum seekers began lining
                                       appointments       up outside the DeConcini port of entry. As of May
                                                          23, 2023, there were more than 200 waiting asylum
                                      ~15 people via a    seekers, including at least 50 children.19 Over the
                                       physical line at   previous week, an estimated 100 people had been
                                      the port of entry   SURFHVVHGWKURXJKWKHOLQH URXJKO\WRSHRSOH
                                                          each day). Asylum seekers waiting in the line
                                             —            reported that they had been trying for months to get
                                                          CBP One appointments.
                                       May 23, 2023
                                                          The waiting asylum seekers have faced challenging
                                                          food and hygiene conditions. The Kino Border
                                                          Initiative provides meals for the asylum seekers, and
                                                          reports hearing that people were limiting their water
                                                          intake because of a lack of free, public bathrooms in
                                                          the area. In response, Nogales municipal authorities
                                                          set up a free bathroom, but it does not have running
                                                          water.

                                                          Nogales municipal authorities have discussed
                                                          creating a waitlist for the individuals waiting at the
                                                          port of entry and then asking them to vacate the
                                                          premises. A new waitlist would be immediately
                                                          closed to additional registrants.

                                                          The majority of migrants in Nogales are from
                                                          0H[LFRZLWKVPDOOHUQXPEHUVIURP9HQH]XHOD
                                                          Haiti, Colombia, and Guatemala. Additionally, an
                                                          increasing number of Indian nationals have recently
                                                          been crossing between ports of entry in Pima
                                                          County, near Nogales.20




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Asylum Processing at the Border Waitlists: May 2023 (continued)


   Mexican City         CBP One        # of CBP One                       City Conditions
                      Appointments     Appointments



    San Luis Río         Closed             N/A         There is no CBP One appointment processing in
  Colorado, Sonora                                      San Luis Río Colorado.

                                                        The Casa del Migrante La Divina Providencia
                                                        shelter reports that the post Title 42 switch to the
                                                        new CBP One system has been positive for its
                                                        residents. During May 2023, ten people at the
                                                        shelter received CBP One appointments. The
                                                        majority of asylum seekers waiting in the city are
                                                        from Mexico and countries throughout Central
                                                        America.

                                                        On May 6, 2023, Mexican authorities rescued
                                                        113 kidnapped migrants from a safe house in San
                                                        Luis Río Colorado. The individuals were from 13
                                                        different countries across Latin America, Africa,
                                                        and Asia and were being held against their will and
                                                        extorted.21

   Mexicali, Baja         Open         ~25 people per   (YHU\GD\&%3SURFHVVHVDSSUR[LPDWHO\SHRSOH
    California                              day         from Mexicali.22 All of these individuals have CBP
                                                        2QHDSSRLQWPHQWV/RFDORI¿FLDOVUHSRUWWKDW&%3
                                            —           aims to increase the total number of CBP One
                                                        appointments in the city to 40 people a day in the
                                        ~25 people      coming weeks.23
                                       via CBP One
                                       appointments     As the summer months begin, the city opened a new
                                                        cooling center for migrants. The center currently
                                            —           has 30 beds, but its capacity is expected to increase
                                                        in the coming weeks.24 On May 17, 2023, shelters
                                       May 23, 2023     in the city reported being at around two-thirds
                                                        capacity.25

                                                        After Title 42 ended, INM estimated that there were
                                                        around 1,300 migrants residing in the city.26




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Asylum Processing at the Border Waitlists: May 2023 (continued)


     Mexican City          CBP One           # of CBP One                           City Conditions
                         Appointments        Appointments



     Tijuana, Baja            Open           ~240 people per     (DFKGD\&%3SURFHVVHVDURXQGSHRSOHLQ
      California                                  day            Tijuana. All of these individuals have CBP One
                                                                 appointments.270H[LFDQRI¿FLDOVUHSRUWWKDW&%3
                                                    —            aims to increase the total number of CBP One
                                                                 appointments in the city to 300 people per day with
                                              ~240 people        three processing times.
                                              via CBP One
                                              appointments       While CBP has processed some asylum seekers
                                                                 who have reached the international dividing line,
                                                    —            it has also sent others back to Tijuana. Local
                                                                 organizations also report that there has been a recent
                                              May 23, 2023       uptick in individuals who are returned to Tijuana
                                                                 after arriving at the port of entry with a CBP One
                                                                 appointment.

                                                                 In the days leading up to Title 42’s expiration,
                                                                 hundreds of migrants crossed between the two walls
                                                                 on the Tijuana-San Diego border, with another camp
                                                                 IRUPLQJHDVWRI7HFDWHLQWKH-DFXPERDUHD7KHVH
                                                                 individuals hoped that they would be processed into
                                                                 the United States before the public health order’s
                                                                 end. At its peak, more than 1,000 individuals were
                                                                 waiting in between the walls—some staying there
                                                                 for days—before U.S. Border Patrol eventually
                                                                 processed everyone.28

                                                                 Tijuana shelters are currently full, and migrants
                                                                 are also renting rooms in motels. The majority of
                                                                 WKHPLJUDQWVLQ7LMXDQDDUHIURP+DLWL9HQH]XHOD
                                                                 Honduras, Mexico, and Russian speaking countries
                                                                  LQFOXGLQJ5XVVLD8]EHNLVWDQDQG.D]DNKVWDQ $W
                                                                 the end of Title 42, INM estimated that there were
                                                                 3,000 migrants in the city.29



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11                                                                                                            MAY 2023
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ENDNOTES


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13                                                                                                                     MAY 2023
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                 Exhibit B
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A LINE THAT
BARELY
BUDGES
U.S Limiting Access to Asylum
Nogales, Arizona Port of Entry




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Introduction and key findings
                            
                            This report documents impediments facing people attempting to seek asylum at the U.S.
                            port of entry in Nogales, Arizona following the end of the Title 42 policy on May 11,
                            2023. While the Biden administration finally ended its use of that illegal policy, the
                            administration has implemented other steps to deny or delay access to asylum at the
                            southwest border, including limits that force asylum seekers to wait for weeks or months
                            for processing at ports of entry and a new asylum ban that went into effect on May 11,
                            2023. The new rule unlawfully renders ineligible for asylum most refugees who cross the
                            border outside of ports of entry as well as those who seek asylum at a port of entry
                            without one of the highly limited CBP One appointments. The asylum ban violates U.S. law
                            and core principles of international refugee law binding on the United States, as Members
                            of Congress, UNHCR, former immigration judges, the asylum officer’s union and many
                            others have confirmed. The asylum ban will return refugees to persecution, torture, and
                            death in their home countries and other countries where their lives are at risk.

                            U.S. immigration law makes clear that people in search of refuge can seek asylum at U.S.
                            ports of entry and/or after entering the United States through other means. The right to
                            seek asylum is protected regardless of whether someone entered at a designated port of
                            entry. U.S. immigration and refugee law can no longer be evaded through use of the
                            specious Title 42 “public health” policy. The right to seek asylum is a fundamental human
                            right enshrined in the Universal Declaration of Human Rights, and treaties binding on the
                            United States as well as customary international law prohibit the return of refugees to
                            places where they risk persecution.

                            Yet, in Heroica Nogales, Sonora, Mexico, (“Nogales, Mexico”) people waiting to seek
                            asylum at the Dennis DeConcini Port of Entry face a barrage of logistical and legal
                            barriers, despite the clear provisions of U.S. and international law forbidding such
                            restrictions. These include:

                            •   Life-threatening dangers while left waiting and struggling to get CBP One
                                 appointments: People waiting in Nogales, Mexico to seek asylum in the United States –
                                 including survivors of rape, kidnapping, and persecution – face kidnappings, assaults,
                                 robberies and other immediate dangers while displaced waiting in Nogales, Mexico as
                                 they struggle to secure one of the highly limited number of appointments released
                                 through the CBP One app, which operates essentially like a lottery. While waiting to
                                 secure an appointment, an LGBTQI+ asylum seeker was nearly kidnapped in Sonora,
                                 and two Haitian couples and a baby escaped a potential kidnapping near the port of
                                 entry in late May.
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                •   Lack of knowledge of Biden administration asylum ban and impossible choices
                     imposed by the ban: During May and early June, monitors from the Kino Border
                     Initiative, The Florence Immigrant & Refugee Rights Project (“The Florence Project”),
                     and Human Rights First spoke with hundreds of asylum seekers waiting in Nogales,
                     Mexico who did not know about the asylum ban and the penalties it inflicts. Upon
                     learning of the new asylum ban, people seeking asylum confront an impossible choice:
                     either seek safety at the port of entry without an appointment, a step that – for non-
                     Mexican asylum seekers – could bar them from asylum under the ban and return them
                     to life-threatening harm, or wait indefinitely in situations of displacement and life-
                     threatening danger until they secure an appointment through the CBP One system
                     which functions essentially like a lottery.

                •   Mexican asylum seekers forced to wait in danger in country of persecution: Even
                     though people seeking asylum from Mexico are not subject to the asylum ban for
                     entering without a CBP One appointment and no one seeking asylum can be turned
                     away from a port of entry under U.S. law, U.S. officials routinely leave Mexican asylum
                     seekers to wait in line for weeks at risk in their country of feared persecution as the
                     Biden administration and CBP limit access to asylum at ports of entry and deprioritize
                     the processing of the asylum requests of people without appointments.

                •   People suffering emergencies or urgent threats left at risk: People facing an urgent
                     medical or protection situation including threats to their life or safety such as risk of
                     sexual assault and kidnapping, torture or murder, have been left by U.S. officials to wait
                     in Nogales, Mexico for over two weeks due to minimal processing of asylum seekers
                     without CBP One appointments. The Department of Homeland Security (DHS) and
                     Customs and Border Protection (CBP) are deprioritizing cases without appointments
                     and lack government-led procedures for the timely identification and processing of
                     urgent medical and protection cases. At present, access to seek asylum at the port for
                     those without appointments functions with minimal daily processing of those in this line.
                     and those who may be facing urgent circumstances are often out of eyesight of CBP
                     officers or are prevented from being able to directly walk up to the CBP officers due to
                     metering mechanisms run by Mexican authorities. Beyond relying on local NGOs with
                     limited resources to identify such circumstances and tirelessly advocate on the
                     vulnerable person's behalf, DHS and CBP have not implemented any public-facing or
                     government-led procedures to ensure that individuals with urgent medical and
                     protection cases – even those that may fall within the asylum ban’s “compelling
                     circumstances” unduly narrow exceptions – are identified by local CBP officers and
                     processed quickly given the life-threatening risks they face.

                •   A line that barely budges: Hundreds of individuals and families waiting to seek asylum
                     at the U.S. port of entry in Nogales, many of whom are Mexican, have been left by CBP
                     to wait in line for, on average, more than 15 nights since about May 15, 2023. CBP
                     officers appear to have processed only a small fraction of people seeking asylum who
                     do not have CBP One appointments, which monitors estimate to be an average of 10 to
                     15 individuals per night. Restrictions on processing at the Nogales and other ports of
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                entry – through the CBP One app and the minimal processing of people without
                appointments – violate U.S. refugee law and amount to unlawful metering.

            •   Familiess continue
                                 e to
                                    o be
                                       e separated under the Biden administration, including women
                who were separated from their husbands, partners, siblings, and other family members
                and then transported 1,200 miles by U.S. Border Patrol before being expelled alone to
                Nogales, Mexico during the last days of Title 42.

            Thee Nogaless DeConcinii Portt off Entryy iss the
                                                            e onlyy portt off entryy which
                                                                                         h acceptss CBP
                                                                                                      P One
                                                                                                          e
            appointmentss forr the
                                 e entire
                                        e Arizona/Sonora     a border. Therefore, any asylum seeker for
            hundreds of miles in either direction must travel to Nogales, Mexico should they secure an
            appointment using the CBP One app. The other smaller ports of entry along the
            Arizona/Sonora border are Class B or C ports, meaning they do not operate 24 hours per
            day, seven days per week (as the Nogales DeConcini port of entry does), and they lack
            significant resources to process more than a handful of asylum seekers per day. Moreover,
            the other smaller ports tend to be in remote parts of the Arizona desert, where the Sonoran
            towns directly across from the U.S. ports have high levels of organized crime; in fact, there
            have previously been incidents of active warfare between different cells of organized crime
            along certain Sonoran highways leading from the remote towns to Nogales, Mexico. Simply
            put, the Nogales Port of Entry is the only option for many vulnerable asylum seekers for
            hundreds of miles. And yet, even Nogales, Mexico is not a safe place to wait to secure a CBP
            One appointment or wait outside the port of entry.




            View of the U.S.-Mexico border from Nogales, Arizona.
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                            The research in this report stems from the work of the Kino Border Initiative, The Florence
                            Immigrant & Refugee Rights Project, and Human Rights First. The Kino Border Initiative
                            (KBI) is a binational, Catholic organization, locally rooted in Ambos Nogales on the Mexico-
                            U.S. border. Its mission is to promote humane, just, and workable migration through: direct
                            humanitarian assistance and holistic accompaniment of migrants, education and encounter
                            to awaken solidarity with migrants, and policy advocacy in Mexico and the U.S. The Florence
                            Project is a 501(c)(3) non-profit organization that provides free legal and social services to
                            the thousands of adults and children detained in immigration custody in Arizona on any
                            given day. The Florence Project was founded in 1989 to provide free legal services to asylum
                            seekers and other migrants in remote Arizona immigration detention centers and in 2017
                            expanding their services to migrants and asylum seekers in Heroica Nogales, Sonora,
                            Mexico. The Florence Project’s vision is to ensure that all immigrants have access to
                            counsel, understand their rights under the law, and are treated fairly and humanely. Human
                            Rights First is a U.S.-based human rights organization that is working to track, as it did with
                            the Remain in Mexico, Title 42 policy, and the Trump administration’s asylum transit ban,
                            denials of access to asylum and other harms inflicted by the Biden administration’s asylum
                            ban.



CBP restricts access to asylum through a line that barely budges
                            
                            U.S. officers must allow people to seek asylum in accordance with Title 8 of U.S. immigration
                            law and treaties binding on the United States. Yet, despite the requirements of U.S. and
                            international law, since Title 42 ended, the Biden administration has limited access to
                            asylum through its asylum ban and limited processing of people seeking asylum by failing to
                            allocate sufficient resources to this function. CBP officers at the DeConcini Port of Entry
                            have functionally restricted entry of people seeking asylum who present themselves at the
                            port without a CBP One appointment by prioritizing the processing of those with CBP One
                            appointments. In doing so, CBP officers have left hundreds of families, children and other
                            people in need of immediate protection stranded – treated as though they are not priorities –
                            waiting for over 15 nights and counting in a line that barely budges. Though the CBP officers
                            have not affirmatively turned anyone away from waiting in line at the port of entry (as was
                            common under prior metering schemes in 2017 - 2020), the CBP officials’ prioritization of
                            those with CBP One appointments contributes to the increasing line of persons who should,
                            under U.S. laws, be provided with processing in a timely manner.
                               
                            A few days after the end of Title 42, hundreds of individuals and families who had been
                            waiting in Nogales, Mexico unable to seek asylum – with one family having waited for up
                            to a year – and the majority of whom had been attempting to obtain a CBP One
                            appointment for months, began to line up in a calm and orderly way along a thoroughfare
                            outside the DeConcini Port of Entry to seek asylum in accordance with Title 8 of U.S. law.
                            Among those waiting in line were infants, young children, adolescents, pregnant and
                            lactating women, individuals with serious medical conditions, Indigenous language
                            speakers, and elderly individuals. The majority of the individuals and families who first
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                lined up were Mexican and were not subject to the Biden administration asylum ban for
                seeking protection at a port of entry without a CBP One appointment. There were also a
                few Haitian individuals and couples, including a pregnant woman, who were waiting in
                line and would be subject to the Biden administration asylum ban but nonetheless are
                required by law to be processed at a port of entry regardless of whether they have an
                appointment.

                On May 22, 2023, following the first week of waiting, human rights monitors observed that
                everyone in line – from the first to the last – were all going on eight nights of sleeping at
                the port of entry because the line had barely budged. Only a limited number of people are
                allowed at a time into the roofed hallway leading up to the “limit line,” the official entry
                point to U.S. soil, where CBP officers stand behind closed doors. The majority of those
                waiting remained outside the turnstile that demarcates the entrance to the port from the
                public thoroughfare outside. These individuals and families waiting outside had no contact
                with the CBP officers inside the port and reported that they received no explanation as to
                why the line was hardly advancing.

                During this first week of waiting, people waiting to seek asylum reported that they did not
                have access to a public bathroom, which was apparently due to needed repairs that were
                subsequently undertaken. Lack of access to public toilets has again been a recent issue
                due to additional maintenance required. Local municipal authorities are bringing portable
                bathrooms and potable water to the plaza so that those persons waiting in line may be
                able to access them. However, these portable restrooms are driven to and from the plaza
                each day and are not accessible all day and night. These inhumane conditions led some
                families to decrease their water intake and resulted in dehydration and the spread of
                preventable, communicable illnesses such as gastrointestinal and respiratory illnesses
                that required evacuation of several children in need of urgent medical care.

                •   A single mother traveling with her three young daughters aged four, six, and 11 who
                     recounted to a Human Rights First researcher that she was fleeing violent harm in
                     Mexico, was sleeping with them outside on the concrete where they had spent the last
                     eight days and nights. She shared her incessant fears: “I’m afraid for my girls. You
                     can’t sleep because you don’t know if they’ll be snatched. You start to become
                     psychologically traumatized. Because I’m a woman, I can’t defend myself. There’s no
                     security [here].” Nearly three weeks later, on June 1st, the same Mexican single mother
                     with her three young daughters was going on her 18th night waiting to seek asylum
                     protection, having at one point lost her spot in the line, and likely faced an additional
                     night or two of waiting.

                •   An elderly woman traveling with her children and grandchildren, a family group of 12
                     who were fleeing violent harm in Mexico, sat fatigued on a concrete bench at the very
                     end of the line. They were in the first group of people who arrived at the port to wait. The
                     grandmother shared that she felt unsafe and was going on her eighth day and night of
                     sitting and sleeping at that exact spot, also with nothing more than a blanket. During
                     that first week of waiting, Mexican authorities stopped allowing more individuals into the
                     interior roofed hallway nearest to the port’s entrance so the individuals and families
                     waiting in the outside portion of the line had hardly budged.
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                A single mother and her three daughters
                slept outside the DeConcini Port of Entry with
                just blankets and waited 18 nights to seek asylum.



                The majority of individuals and families, including those with infants, children, elderly, and
                other vulnerable individuals, report spending over 15 nights on average waiting to seek
                life-saving access to safety in the United States. Many endure sleeping outside on the
                concrete floor without shelter or security for most of their wait, and rely on the Kino Border
                Initiative and other volunteers who provide food, water, blankets, and limited medical
                attention.

                Despite the requirements of U.S. law, CBP has failed to allow all but a miniscule number of
                those waiting in line without appointments to seek asylum each day. CBP has not
                disclosed how many individuals are processed without appointments at the DeConcini
                Port of Entry. Through interviews with people waiting in line, monitors learned that during
                the first week, anywhere from two to 13 individuals were processed at the end of each day,
                nearly always very late in the evening such as midnight, 1 a.m., or 2 a.m., after those with
                CBP One appointments were prioritized throughout the day. People waiting in line
                indicated that during the second and third weeks, anywhere from 10-15 individuals were
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                            processed each day at varying times. The DeConcini Port of Entry has only been
                            processing approximately 55 individuals with CBP One appointments per day, according
                            to a recent report issued by the Strauss Center for International Security and Law. Shortly
                            after issuance of the Strauss Center report, on June 1, 2023 DHS increased daily CBP One
                            appointments from 1,000 to 1,250 borderwide, though it is unknown how many additional
                            appointments, if any, have been allocated to the Nogales Port of Entry.



Mexican asylum seekers trapped waiting in their country of feared persecution

                            The majority of those waiting in line at the DeConcini Port of Entry during the first two weeks
                            were Mexican asylum seekers. Many of the Mexican asylum seekers reported that they had
                            been waiting in Nogales, Mexico for months and a few reported waiting up to a year, unable
                            to seek asylum first because of Title 42 – forcing them to wait long periods to access NGO-
                            led Title 42 exemptions processes, and then because they were unable to obtain an
                            appointment via the CBP scheduling system which functions like a lottery. These Mexican
                            individuals and families are not subject to the asylum ban for entering without a CBP One
                            appointment and U.S. law requires that all individuals seeking asylum at ports of entry are
                            processed into the United States. Yet in contravention of U.S. refugee and immigration law,
                            CBP has left Mexican asylum seekers presenting at the port of entry to wait for over two
                            weeks, trapped inside their own country of feared persecution and at continued risk of
                            harm.

                            People fleeing persecution in Mexico, a country that directly borders the United States,
                            cannot wait. Access to territory and to asylum for people fleeing persecution in their home
                            country is a central tenet of international refugee law. The Biden administration’s decisions
                            to limit access to asylum, limit asylum processing capacity by failing to sufficiently allocate
                            resources to this function at ports of entry, and prioritize access to asylum for those with
                            CBP One appointments in turn restricts the right to seek life-saving protection for Mexican
                            asylum seekers and forces them to remain exposed and at risk of persecution in their own
                            country. These actions also restrict access to protection for people who have fled other
                            countries, including those in immediate need of access to protection due to particular
                            vulnerabilities or high risks.

                            For Mexican individuals and families, the threat of persecution by those they are fleeing –
                            such as violent cartels and other organized crime groups that exercise control over territory
                            and often work in collusion with Mexican authorities – is still palpable as they are forced to
                            continue to wait in northern Mexico in the hopes of finally having access to safety. The U.S.
                            State Department 2022 report on human rights in Mexico finds that:

                                    “Significant human rights issues included credible reports of: unlawful or
                                    arbitrary killings by police, military, and other governmental officials;
                                    forced disappearance by government agents; torture or cruel, inhuman,
                                    degrading treatment or punishment by security forces; harsh and life-
                                    threatening prison conditions; arbitrary arrest or detention; serious acts
                                    of government corruption; insufficient investigation of and accountability for
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                          gender-based violence, including domestic or intimate partner violence;
                          crimes involving violence or threats of violence targeting lesbian, gay,
                          bisexual, transgender, queer, or intersex persons; and crimes involving
                          violence or threats of violence targeting persons with disabilities.

                          Impunity and extremely low rates of prosecution remained a problem for all
                          crimes, including human rights abuses and corruption. There were reports
                          some government agents were complicit with international criminal
                          gangs, and prosecution and conviction rates were low for these abuses.

                          Criminal elements, including local and transnational gangs and narcotics
                          traffickers, were significant perpetrators of violent crimes and committed
                          acts of homicide, torture, kidnapping, extortion, human trafficking,
                          bribery, intimidation, and other threats, resulting in high levels of violence
                          and exploitation. The government investigated and prosecuted some of
                          these crimes, but the majority remained uninvestigated and unprosecuted.”1

                People from Mexico waiting to seek asylum outside the DeConcini Port of Entry expressed
                their fears of persecution in Mexico and desperation to access immediate protection.

                •   A female-headed family consisting of a Zenaida*2 and her 11-year-old daughter, along
                     with Zenaida’s ’s daughter-in-law, Yaneth*, and Yaneth’s two young children, aged four
                     and one, were waiting to seek asylum outside the DeConcini Port of Entry for eight days
                     at the time they spoke to a Human Rights First researcher in early June 2023. They had
                     spent the last five nights sleeping outside the port on the concrete of the public
                     thoroughfare with blankets other asylum seekers had left behind. They recounted
                     fleeing death threats and gender-based violence by violent cartel members in Mexico
                     who burned Yaneth’s 4-year-old son, killed Yaneth’s sister, and disappeared Yaneth’s
                     husband (Zenaida’s son), while Zenaida herself was kidnapped and beaten and her
                     brother was kidnapped and found dead. Zenaida shared:

                     “The days feel eternal. Every day we’re still trying to get a [CBP One] appointment.
                     Each time we get in a taxi, we’re asked where we’re from, and I’m afraid to tell them.
                     Wherever we go, we’re constantly afraid they [the cartel] will find us. They’re
                     everywhere.”

                     These women and their children arrived in Nogales a month prior under Title 42 and
                     were blocked from seeking asylum. Zenaida’s 11-year-old daughter fell ill with diarrhea
                     and vomiting while they were living out on the street. An elderly man approached them
                     and offered them a room, which turned out to be the same room he slept in and where
                     he strategically placed his bed blocking the front door. Shortly after, he began to


                1“
                  2022 Country Reports on Human Rights Practices: Mexico,” U.S. State Department, available at:
                https://www.state.gov/reports/2022-country-reports-on-human-rights-practices/mexico/.
                2
                  An asterisk* indicates use of a pseudonym to protect an individual’s confidentiality.
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                     sexually harass them, leading Zenaida and Yaneth to fear the worst for themselves and
                     their children. They managed to escape and fled directly to the DeConcini Port of Entry
                     where they had been sleeping the past five nights outside on the concrete. Zenaida
                     expressed:

                     “Why does no one hear us? We are so scared. We’re afraid when people look at us
                     and ask us where we’re from. We cannot wait here.”

                •   A single mother and her young daughters fled southern Mexico when members of an
                     armed criminal group that controls part of the territory threatened to kill her at gunpoint
                     and left her threatening messages stained in blood when she would not and could not
                     pay their extortion fees targeting her small floral business.

                     “I had to pull my daughters from school. There, if you don’t pay, they give you 24
                     hours to leave or they’ll kill your daughters or family. And since it has happened, you
                     grab what you can because it psychologically traumatizes you – that you’ll appear
                     chopped to pieces in a body bag – and you’ve seen it. Those who have a bit more
                     resources survive paying extortion fees. The local police in these small towns
                     disregard you, possibly because they’re afraid.”




                     Two young girls spend their days waiting with
                     their mother outside the DeConcini Port of Entry.


                •   A family consisting of a mother, father, and three children aged eleven, seven and
                     three, fled southern Mexico after being internally displaced due to cartel violence
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                               where the father was then threatened and beaten by cartel members. He went to the
                               police station to file a police report and was instead handcuffed by the police officers
                               and thrown into a cell for three days with members of the criminal group who beat
                               him so severely he required surgery afterward. As he shared his story with a Human
                               Rights First researcher while waiting in line outside the port of entry, his voice lowered
                               to a whisper before mentioning those who shall not be named – the cartel – as he
                               looked around warily and said: “The police themselves handed me over to these
                               criminals. You no longer know who is good and who is bad. Mentally, I still have
                               panic attacks.”

                          •   A family consisting of a mother, father and five minor children fled southern Mexico
                               when the cartel attempted to forcibly recruit the father and threatened him with death.
                               They escaped but his brother did not have a chance and the cartel killed him.

                          Many Mexican asylum seekers have shared with Kino Border Initiative staff that they feel
                          unsafe because the Mexican National Guard and police forces3 have taken photos and
                          videos of them waiting in line without their consent. One family told Kino Border Initiative
                          staff that their family members called them and told them they had seen them on
                          Facebook in a video someone uploaded, showing scenes at the port of entry. They now
                          fear that they will be located and harmed by their persecutors. In general, it is less than a
                          one or two days’ journey from southern Mexican states to Nogales, Mexico, so an average
                          wait time of 15 days leaves these Mexican families in great danger if their perpetrators are
                          able to locate them quickly at or near U.S. ports of entry.



People seeking asylum face enormous challenges in securing a CBP One appointment


                          Problems include insufficient appointments; lack of access to
                          smartphones, electricity, and internet data; glitches; language access
                          deficiencies; and the app’s continuing failures to recognize darker skin
                          tones.

                          People waiting to seek asylum in Nogales, Mexico face numerous barriers to seeking
                          asylum, including the lack of sufficient CBP One appointments: financial, technological
                          and other equal access deficiencies; language access deficiencies; and continuing failures


                          3
                            The U.S. State Department 2022 Report on Human Rights Practices in Mexico finds that “Significant human rights
                          issues included credible reports of: unlawful or arbitrary killings by police, military, and other governmental
                          officials; forced disappearance by government agents; torture or cruel, inhuman, degrading treatment or
                          punishment by security forces; harsh and life-threatening prison conditions; arbitrary arrest or detention; serious
                          acts of government corruption (...). Impunity and extremely low rates of prosecution remained a problem for all
                          crimes, including human rights abuses and corruption. There were reports some government agents were
                          complicit with international criminal gangs, and prosecution and conviction rates were low for these abuses.
                          Criminal elements, including local and transnational gangs and narcotics traffickers, were significant perpetrators of
                          violent crimes and committed acts of homicide, torture, kidnapping, extortion, human trafficking, bribery,
                          intimidation, and other threats, resulting in high levels of violence and exploitation. The government investigated and
                          prosecuted some of these crimes, but the majority remained uninvestigated and unprosecuted.”
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                to recognize darker skin tones. While the number of appointments available across the
                entire border have reportedly recently increased to 1250 per day, only a negligible portion
                of these appointments have been available to people waiting in Nogales. At the time that
                DHS provided 1,000 daily CBP One appointments, the Nogales port of entry only
                processed 55 persons a day.

                While it is unknown if or how many additional appointments will be allocated to Nogales,
                even if the appointments at Nogales increase proportionally to approximately 69
                appointments a day out of the overall border total of approximately 1250 persons, this
                means that only 5.5% of all available appointments would be allotted to the Nogales
                Port of Entry, one of eight total ports across the border where people can present via CBP
                One. DHS and CBP officials have long stated numerous times that appointments are
                allocated based upon each port’s capacity constraints, which begs the question, “why is
                the only port of entry with CBP One appointments for a span of nearly over 600 miles
                (from the California border to El Paso, Texas) so poorly resourced to process only 55
                asylum seekers per day?” People waiting to seek asylum in Nogales have noticed very
                little improvement in processing since the end of Title 42 and continue to express
                exasperation at their futile attempts to obtain an appointment each day through the CBP
                One system which functions like a lottery.

                •   A Mexican couple traveling with their five minor children who have been waiting
                     outside the Nogales port of entry to seek asylum and were previously in Ciudad
                     Juárez, shared: “We arrived to Ciudad Juárez in March but never attempted to cross
                     [between ports] because we were afraid. My husband and I have five young children.
                     We’re a family of seven. We’ve been trying with the [CBP One] application since we
                     arrived in March. I’d complete all the steps, but it would tell me that there wasn’t
                     an appointment for a group of seven.”

                •   In early May 2023, a Venezuelan woman crossed into the United States from
                     Matamoros, Mexico to seek asylum and was separated by CBP from her family and
                     expelled under Title 42 to Nogales, Mexico on May 7, 2023. She shared with a Human
                     Rights First researcher that she had been in Mexico since October 2022, blocked
                     under Title 42 from seeking asylum, and had been attempting to obtain a CBP One
                     appointment since mid-February 2023. She is stranded alone in Nogales, Mexico
                     together with two other Venezuelan women she met who were also expelled alone.
                     She shared: “The three of us are each trying every day to request an [CBP One]
                     appointment. We try at 2:00, 3:00, 4:004 in the morning, at all hours, and nothing.
                     We’ve been in Nogales for almost a month now.”




                4
                  On May 10, 2023, the CBP One application transitioned to a new scheduling system that allows an individual to
                request an appointment during a 23-hour period rather than at a designated time as it first functioned. “CBP Makes
                Changes to CBP One App,” U.S. Customs and Border Protection, available at:
                https://www.cbp.gov/newsroom/national-media-release/cbp-makes-changes-cbp-one-app
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                •   A Colombian male young adult traveling alone who has been waiting outside the
                     Nogales port of entry to seek asylum for over two weeks after futile attempts to
                     schedule a CBP appointment was unaware that without an appointment he would
                     likely be barred from asylum under the asylum ban, subject to a higher screening
                     standard, and could be deported to Colombia where he feared persecution. He
                     shared: “I feel unsafe here in Mexico. I can’t apply for asylum [here]. If the [CBP
                     One] appointment took three days, I’d wait. But it doesn’t. I’ve been trying and
                     nothing. And I have to rent a room and pay for food. I can’t keep waiting.”

                In order to even attempt to secure a CBP One appointment, people seeking asylum must
                have daily access to a smartphone with certain capabilities, electricity, internet and/or
                phone reception with data. The use of this appointment system – and the asylum ban’s
                provisions barring refugees from asylum if they do not have an appointment – prevents
                many vulnerable people who lack financial resources or access to technology from
                seeking asylum. Some families do not have phones or have had their phones stolen. Other
                families seeking asylum have had to make the choice between going hungry and buying
                data for their phones.

                •   A Mexican single mother and her three young daughters have been in Nogales since
                     January trying each day to obtain an appointment. She said: “I’d run out of internet
                     data and instead of buying food, I’d need to buy more data.” As a result, she has
                     been forced to restrict her and her daughters’ food consumption even further, and
                     even then, there have been days she couldn’t afford to buy internet data and was
                     unable to request a CBP One appointment to seek life-saving asylum protection. She
                     shared: “Many paisanos cross through the border. I want to enter lawfully.”

                •   A Mexican family had been waiting to seek asylum outside the Nogales port of entry
                     for nearly eight nights when the father informed a Human Rights First researcher that
                     the family’s only phone was stolen from under him while they slept at night on the
                     concrete outside the port. “We don’t have a phone now and I don’t have money to
                     buy another one. We’ll continue to wait here.”
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                Asylum seekers charge their
                phones at the DeConcini Port of Entry.

                The asylum ban disproportionately impacts vulnerable populations, such as Indigenous
                people seeking asylum protection who face Indigenous language exclusion in use of the
                CBP One application, which is only available in English, Spanish, and Haitian Creole, and
                more recently in Russian and Portuguese. The Florence Project has monitored cases of
                Indigenous Guatemalan and Mexican families waiting for months to seek access to
                asylum, first blocked under Title 42 – prompting submission on their behalf of Title 42
                exemption requests due to their inability to use the CBP One app.

                Of the five exemption requests submitted on behalf of Indigenous language speakers
                in March 2023, all five requests were outright ignored – for months – by the Tucson CBP
                Office of Field Operations (the entity to which Title 42 exemption requests were to be
                directed). Of those five Indigenous-language families (totaling 13 persons), only two
                families were eventually able to secure an appointment via the CBP One application after
                much struggle. Of the remaining three families, one family seems to no longer have the
                same phone number and Florence Project staff cannot contact them; one Indigenous
                Mexican family felt they had no choice but to wait in line at the DeConcini Port of Entry in
                the second half of May; and the final family – a Mayan family from Guatemala who will be
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                           subject to the asylum ban if they cannot enter with an appointment – is still waiting in
                           Nogales and struggling with the CBP One application.

                           The Kino Border Initiative consistently receives new arrivals who are Indigenous
                           community members and Indigenous language speakers from southern Mexico and
                           Guatemala who struggle to use the CBP One application. Additionally, asylum seekers
                           placed in expedited removal must pass credible fear interviews to have an opportunity to
                           apply for asylum, but Indigenous people seeking asylum are often forced to interview in
                           languages they do not fluently speak. The asylum ban will be applied in these interviews to
                           bar them based on inability to use the CBP One app and language access barriers in these
                           interviews will further endanger Indigenous asylum seekers and fuel their deportation.

                           Since its inception in January 2023, the CBP One application has been plagued with
                           glitches and technical errors. Kino Border Initiative staff spoke with Ignacio*, his wife and
                           children who kept getting an error code indicating the name of their emergency contact in
                           the US was missing, when it was clearly written in the app. Although subsequent versions
                           have led to some improvements, particularly with regard to how appointments are
                           scheduled, individuals with darker skin tones continue to experience problems with CBP
                           One’s facial recognition software even after the May 10, 2023 update.

                           •   In mid-May 2023, Kino staff witnessed a Venezuelan woman who was notified of a
                                CBP One appointment and had 23 hours under the most recent software update to
                                accept the appointment on the app. She struggled to and nearly missed the deadline
                                on account of the app’s facial recognition software not recognizing her darker
                                pigmentation. Kino staff witnessed her repeated attempts over hours and growing
                                anguish as she moved to different spots within their fully-lit, bright shelter. They even
                                placed strong lighting over her face. She ultimately succeeded in capturing her image
                                after these anguished attempts. However, it should be noted that had she not been
                                able to secure such shelter in the first place or had other sources of light as additional
                                support, the woman likely would have missed out on her CBP One appointment for
                                failure to confirm the appointment slot in time. Simply put, had she been displaced
                                nearly anywhere else – in dimly lit shelters, on the street, or waiting in line at or near a
                                port of entry, the app’s facial capture software would have likely failed this woman, as
                                it continues to do for countless others.



Asylum cannot be scheduled: people seeking asylum are in need of immediate access to protection


                           In addition to people seeking asylum from Mexico, asylum seekers from a range of other
                           countries are also waiting to seek asylum in Nogales, Mexico. These include individuals and
                           families from Colombia, Ecuador, Guatemala, Haiti, and Venezuela. Many of these people
                           have spent months struggling and failing to secure CBP One appointments.

                           As they wait in Nogales, Mexico, people seeking asylum are at risk of kidnapping,
                           disappearance, rape, trafficking, and extortion. The U.S. State Department has issued a Level
                           3 Reconsider Travel advisory for the state of Sonora, Mexico where Nogales is located,
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                stating that violent crime such as homicide, kidnapping, carjacking and robbery is
                widespread and common in Mexico with Sonora being a key location used by the
                international drug trade and human trafficking networks. Many asylum seekers in Mexico
                suffer horrific violence at the hands of Mexican government agents and cartels, with many
                targeted precisely because they are migrants or seeking asylum in the United States.
                Human Rights First has tracked over 13,000 reports of murders, kidnappings, rapes, and
                other violent attacks against migrants and asylum seekers blocked in or expelled to Mexico
                due to Title 42 since President Biden took office.

                The Kino Border Initiative, the Florence Project, and Human Rights First monitors spoke with
                hundreds of asylum seekers waiting in Nogales, Mexico over the last month who did not
                know about the asylum ban and the penalties it inflicts. Upon learning of the Biden
                administration asylum ban, people seeking asylum confront an impossible choice of whether
                to seek safety at the port of entry without a CBP One appointment, a step that – for asylum
                seekers who transited other countries – could bar them from asylum under the ban and
                return them to life-threatening harm, or wait indefinitely in situations of life-threatening
                danger until they can schedule an appointment through the CBP One system which
                functions like a lottery.

                Faced with these threats, some people who have been unable to get one of the limited CBP
                One appointments have approached the port of entry to seek asylum. If they choose to
                present at the port without an appointment and they are not Mexican nationals, then they
                will now risk being subjected to the Biden administration asylum ban and deported back to
                danger even if they are refugees with well-founded fears of persecution. People waiting to
                seek asylum at ports of entry without an appointment who, upon being processed into the
                United States, could be barred by the asylum ban regardless of the persecution they fled
                and their eligibility for asylum under U.S. law include:

                •   A Colombian LGBTQI+ woman traveling alone was waiting outside the Nogales port of
                     entry to seek asylum for 15 nights, 12 of which she had spent sleeping on the concrete in
                     line. She reported that she was unaware of the asylum ban and its damaging
                     consequences for entering at a port of entry without an appointment. Yet she was
                     fleeing persecution in Colombia and serious harm in Mexico. In Colombia, she was
                     internally displaced by an armed group. She and her partner were sexually assaulted by
                     Colombian police officers. She tried to file a complaint but didn’t receive state protection
                     and had to flee. While transiting on a bus to northern Mexico, a Mexican state police
                     officer boarded the bus and inspected those who were Colombian. The female officer
                     instructed her to enter the bus bathroom where she stripped her of her clothing and
                     digitally penetrated her vaginally without use of a glove, alleging she was transporting
                     cocaine, and then robbed her of her money. Upon arrival at a bus station in Sonora she
                     experienced an attempted kidnapping. “I’m afraid to be here. I’m afraid criminal
                     groups will try to kidnap me again.”

                •   A Venezuelan woman traveling alone who had also been waiting 15 nights outside the
                     Nogales port of entry waiting to seek asylum shared with a Human Rights First
                     researcher that she was fleeing persecution in Venezuela and that her sister had been
                     murdered by the guerilla, a non-state armed group that exercises control over territory,
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                     as she clutched a manilla envelope holding proof of her death. She did not know that
                     the Biden administration’s asylum ban would likely bar her from asylum protection for
                     presenting at the port without a CBP One appointment and that she risked deportation
                     back to Mexico. “But what about this?” she asked, holding up her proof of
                     persecution, stunned to learn that she could be blocked from applying for asylum
                     protection simply for not having an appointment. “I have nowhere to go. I cannot wait
                     here [in Mexico]. I need asylum.”

                •   Kino Border Initiative staff also met a group from Colombia who had recently arrived at
                     the port of entry. They explained that Mexican immigration agents kidnapped them for
                     a day in collusion with organized crime in another part of Mexico. Upon their release,
                     the immigration agents told them to specifically go to Nogales, that they would be safe
                     here, but they do not feel safe, knowing that Mexican authorities and organized crime
                     know who they are and their current location.

                People waiting to seek asylum in Nogales, Mexico have also reported to the Kino Border
                Initative attacks, threats, intimidation and other unsafe conditions that they are forced to
                endure as they wait and attempt to exercise their right to seek asylum.

                •   On June 1, 2023, two Haitian couples traveling with an 11-month-old infant told a Human
                     Rights First researcher about extortion and dangers they had experienced in Mexico,
                     including difficulties finding safe shelter and an attempted kidnapping they had
                     experienced the day prior as they approached the DeConcini Port of Entry. The father of
                     the baby shared: “We were walking toward here. A truck with three men stopped and
                     they got out and started coming toward us. ‘RUN!’ I shouted to my wife and baby.
                     We managed to escape.”

                •   In mid-May 2023, multiple people reported to Kino Border Initiative staff that a group of
                     men had recently arrived at the port of entry and beat up a teenager who was waiting at
                     the port of entry to seek asylum. A woman with the group recorded the assault on the
                     teenager. The attackers threatened the migrants who had witnessed it, warning that
                     they needed to stay quiet about the attack or something even worse would happen to
                     them.

                •   In mid-May 2023, Kino Border Initiative staff and a Human Rights First researcher were
                     separately told of two young men who were waiting to seek asylum outside the Nogales
                     port of entry and left the line to shower. On their way back, they were apprehended by
                     an organized crime group and were searched, questioned, threatened, and robbed of
                     their belongings. Kino Border Initiative staff were informed that the young men reported
                     this to the Nogales municipal police, but the local police did not do anything.

                Non-Mexicans presenting at the port of entry in Nogales without a CBP One appointment
                who are subject to the asylum ban can overcome the ban and be considered for asylum if
                they can prove that they (or a member of their immediate family who they are traveling with)
                faced an “exceptionally compelling” circumstance, such as at the time of entry into the
                United States, faced an acute medical emergency; an imminent and extreme threat to life or
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                safety, such as an imminent threat of rape, kidnapping, torture, or murder; or was a “victim of
                a severe form of trafficking in persons,” as defined by U.S. regulations.

                The narrow exceptions to the ban will not protect many refugees and will often be
                impossible to prove. For instance, many asylum seekers in Mexico suffer horrific violence at
                the hands of Mexican government agents and cartels, with many targeted precisely because
                they are migrants or seeking asylum in the United States. Human Rights First has tracked
                over 13,000 reports of murders, kidnappings, rapes, and other violent attacks against
                migrants blocked in or expelled to Mexico due to Title 42 since President Biden took
                office. Amid this unremitting violence, asylum seekers in Mexican border regions so often
                face a serious risk to their safety that it is absurd to require an asylum seeker to establish an
                “imminent and extreme” threat to life or safety, and it is unclear how they could even prove
                to an adjudicator that they would have been kidnapped, raped, murdered, or otherwise
                harmed had they remained in danger for longer.

                This lack of certainty about what may be found to qualify as an “exceptionally compelling”
                circumstance that would overcome the ban results in asylum seekers having to make a risky
                calculus over whether to wait in situations of life-threatening harm struggling to obtain a
                CBP One appointment or seek safety by presenting at the port to seek asylum and
                potentially risk being barred from asylum. As is, people facing an urgent medical or
                protection situation including threats to their life or safety such as risk of sexual assault,
                kidnapping, torture or murder, have been left by U.S. officials to wait in Nogales, Mexico for
                two-to-three weeks already due to minimal processing of asylum seekers without CBP One
                appointments.

                DHS and CBP are deprioritizing cases without appointments and lack government-led and
                publicly accessible procedures and mechanisms for the timely identification and processing
                of urgent medical and protection cases; instead, DHS and CBP officers count on local NGOs
                to bring these cases to their attention. At present, access to seek asylum at the port for
                those without appointments functions with minimal daily processing of those in this line.
                DHS and CBP have not implemented any procedures at the Nogales port of entry to ensure
                that CBP officers can independently identify and quickly process individuals with urgent
                medical and protection cases – even those that may fall within the asylum ban’s “compelling
                circumstances” unduly narrow exceptions are left without recourse.

                People forced to wait indefinitely due to U.S. limits on asylum at ports of entry, including
                many single mothers, face the threat of rape, sexual abuse, kidnapping, disappearance, and
                trafficking. The risk of imminent harm is considerable for many, including many single
                mothers with babies and young children who spoke with a Human Rights First researcher
                on May 22, 2023 and shared that they had been waiting in line at the port of entry and
                sleeping outside without even a tent for protection going on eight nights at the time. They
                uniformly expressed their despair over their sense of vulnerability and insecurity, particularly
                at night as they slept on the floor against walls and crouched in corners along the public
                thoroughfare without any protection. They chose to remain there as they were in need of
                asylum protection and had been waiting for months for a CBP One appointment to no avail.
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                             •   Another Mexican single mother echoed these concerns for the safety of her children:
                                  “You can’t sleep peacefully because we’re not safe. There has been a robbery of a
                                  cell phone and someone’s bag. I’m afraid that if I sleep, many things can happen to
                                  my kids – intimate things.”





                             Outside the DeConcini Port of Entry, blankets and
                             cardboard where people slept as they waited to seek asylum.



People Suffer as they Wait in Dismal Conditions, Particularly Families with Children
                             
                             During the first seven days that Mexican families were forced to wait at the port of entry in a
                             line that barely budged due to U.S. limits on asylum processing, they had no access to public
                             bathrooms and were required to pay 10 pesos per visit to use a nearby bathroom. This
                             expense stressed the few resources families had for food, water, or internet. A week into
                             waiting, local authorities opened access to a public bathroom that has no running water. For
                             the first two weeks most had no access to a shower. During the week of May 29, 2023 a
                             local nonprofit brought a mobile shower but some waiting in line shared on June 1, 2023 that
                             they were unable to access it as it was locked. Since May 17th, Kino Border Initiative staff
                             and other volunteers have been providing water and two meals a day for those waiting in
                             line.

                             Families initially reported children were experiencing dehydration and falling ill, with
                             symptoms such as vomiting and high fever, and shared that several children were taken to
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                             local medical clinics to receive treatment. Parents expressed stress over the potential need
                             to seek emergency care and abandon their place in line – the most reliable path to seeking
                             life-saving asylum protection – which might force them to continue to risk months of harm
                             while struggling to secure a CBP One appointment.




                             At the DeConcini Port of Entry, a child
                             Waiting to seek asylum plays in blankets
                             that asylum seekers who slept in line left behind.

                             In mid-May 2023, a minor child suffered appendicitis while waiting in line and required
                             emergency surgery. He was discharged from the local hospital and is unable to return to the
                             line as his wound requires that he have access to clean water and a hygienic environment to
                             prevent infection and aid in his recovery. His mother is caring for him while his brother
                             informed a Human Rights First researcher he was obliged to remain alone and hold the
                             family’s place in a line that had hardly advanced for nearly two weeks.
                             


Mexican authorities create list of Mexicans and others waiting to seek asylum in the U.S.

                             People seeking asylum should be allowed to do so in accordance with U.S. law, instead of
                             being left to wait for days and weeks on end. The limiting of U.S. asylum processing at ports
                             of entry, which was a policy implemented by the Trump administration (known as
                             “metering”) and was found to be unlawful, led to years’ long backlogs and long lines in
                             Mexico and, as a result, the development of a barrage of deficient “wait-lists” in Mexico. In
                             the wake of the U.S. failure to adequately resource ports of entry to properly process people
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                seeking asylum, metering is once more a reality in Nogales, Mexico. At the DeConcini Port of
                Entry, municipal authorities in Nogales, Mexico have created a list system for people waiting
                in Nogales to seek U.S. asylum. Worryingly, Mexican municipal authorities have collected
                names and are administering a waitlist of individuals and families that includes people
                waiting to flee Mexico to seek asylum in the United States. In conversations with those
                waiting in line on May 22, 2023, individuals indicated to a Human Rights First researcher
                that it was unclear to them for what purpose their names had been taken down as the list
                was first compiled, and some believed at the time that it was compiled by the Mexican
                immigration authority Grupo Beta while others did not know who compiled it.

                The Mexican municipal authority initiated the list of those waiting in line on or about May
                25th and on May 27th began issuing a QR code that assigns a number on a waitlist to each
                individual and family unit registered in line. Families waiting at the port of entry shared with
                monitors that the system has allowed some families, such as single mothers with young
                children and vulnerable individuals, to leave the line and seek temporary respite or spend
                their nights at a local shelter or rented room. Other families reported that they lacked
                resources to rent a room and informed monitors that shelters are at capacity and/or they
                reached the shelter’s limit of days they could stay, and thus the port was the only place they
                could go despite the risks and conditions of sleeping outside on the concrete floor. Most
                families traveling with more than one adult expressed that they sometimes chose to leave
                one family member alone holding their place in line by day and overnight, while others
                frequently return to monitor the line’s movement and ensure their spot, having already
                expressed distrust of the authorities and process.

                During recent monitoring, there have been considerably fewer families and children
                spending the day waiting in line along the public thoroughfare outside the port of entry. For
                instance, on May 17, 2023, (the first week after the end of Title 42), Florence Project staff
                counted at least 186 individuals waiting in line at the port of entry, including those both in
                the covered hallway leading to the port of entry doors as well as those outside the turnstiles
                lining the thoroughfare. On June 5th, there were only approximately 30 – 50 persons total
                waiting at the port of entry, approximately 15 – 20 persons inside the hallway and near the
                actual doors to the port of entry building, and another 20 – 30 persons outside the turnstile
                in the thoroughfare area. Also on June 5th, Kino Border Initiative staff observed the
                municipal authority issue QR codes to new individuals and families and instruct them to
                leave the port of entry as they were last on the list and would not be called any time soon.

                The same day, Kino Border Initiative staff spoke with a single mother and her child who
                were waiting near the limit line outside the Nogales port of entry and were next in line. The
                woman told Kino staff that, two days prior, she had received a phone call from the municipal
                authority informing her that it was her turn and instructing her to return to the port, so she
                and her child had spent the last two nights sleeping outdoors at the port waiting to be
                processed.

                Municipal authorities in Nogales, Mexico originally informed Kino in late May 2023 of their
                intention to close the wait list after registering those individuals who were presently in line
                and to disperse the line as soon as possible. However, as of Thursday, June 1, 2023, the
                municipality has progressed to its third list, with 100 people on each list, and has indicated
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                that at this point they will not create a fourth list given how long they would have to wait to
                be processed by CBP (likely months in the future already). Instead, it is likely that the
                municipal authority will only add additional people to the third list as those with a QR code
                are processed.

                While this system has for the past week permitted some to temporarily leave the line, its
                broader implications are troubling. U.S. law requires processing of all persons seeking
                asylum, regardless of manner of entry. List-keeping at ports of entry in any form raises
                concerns about illegal metering, and Mexicans in particular – who are not even subject to
                the asylum ban – are trapped in their country of persecution, exposed to additional risk of
                harm, which raises additional legality concerns.

                It is also alarming that the Mexican municipal authority is requiring those asylum seekers
                queuing to access the DeConcini Port of Entry, including Mexican citizens, to submit their
                names given that all of the Mexican families a Human Rights First’s researcher spoke with
                described fleeing situations of individualized threats of death by cartel members in situations
                where there was an egregious lack of state protection. Extensive reporting on Mexico
                including by the U.S. Department of State corroborates situations of persecution and
                violence inflicted by non-state actors, Mexican authorities, and/or both in collusion.

                At present, the waitlist is being managed by one Mexican municipal agency without
                transparency or a mechanism for complaints, monitoring, or oversight of the list. Before the
                implementation of Title 42 in March 2020, the municipal government controlled a similar
                waitlist and there were multiple allegations of corruption with no accountability or oversight
                mechanisms to address concerns. Given similar actions in the past, local groups remain
                concerned about rights abuses in the administration of the list, possible dispersion of the
                line, and possible steps to dissuade people from seeking asylum at the port of entry – as well
                as concerns about whether cartels or complicit Mexican officials will have access to the
                names on the lists.

                In interactions with asylum seekers and Kino Border Initiative staff, Mexican immigration
                officers and municipal authorities have misstated information on U.S. immigration laws and
                current policies, at times restricting access to the port of entry and contributing to
                misinformation among people waiting to seek asylum.

                •   Kino Border Initiative staff spoke with a Mexican man who first arrived in Nogales in
                     February 2023 in search of asylum. He approached the port of entry on May 24, 2023
                     and was added to the waitlist and issued the number 88. On May 27th at around noon,
                     the Nogales municipal authority arrived and began issuing QR codes. He was asked for
                     his name and assigned number. He was also inappropriately asked by the municipal
                     agency whether he had been deported to Mexico previously, to which he answered in
                     the affirmative, but was not provided an opportunity to explain that it was an expulsion
                     under Title 42 (which does not carry the same immigration consequence as an order of
                     removal under U.S. law). He was then told “you no longer qualify for asylum” and
                     that U.S. authorities would not allow him to enter and would detain him, so he had
                     to leave the line. He tried to protest and explain that this wasn’t a decision for the
                     Mexican municipal agency to make but rather for the U.S. government, but he was
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                                asked to leave the line and to give his place “to someone who actually needed it.” He
                                was not allowed to speak and was not issued a QR code like others in line were. This
                                man was able to access the port on June 4th thanks to the fellow asylum seekers in line
                                immediately before and after him who honored his place, despite the municipal
                                authority’s unlawful efforts to prevent him from seeking asylum.

                           •   On May 31, 2023, Kino Border Initiative staff spoke with a Cuban man who shared that
                                he obtained a CBP One appointment and was traveling by bus to the U.S. border to seek
                                asylum when the bus was stopped at an immigration checkpoint. A Mexican
                                immigration officer questioned him and he provided a screenshot of his CBP One
                                appointment. The officer did not accept it and required that he open the app to show
                                him the appointment. The man had no internet data at the time and was unable to
                                access the application so the immigration officer forced him to miss his bus. Upon
                                resolving the issue, he took another bus to Hermosillo, Sonora and then to Nogales,
                                Sonora, arriving at the port the day of his appointment but two hours late. At the
                                entrance to the port, the Mexican municipal authority informed him that as he had
                                missed his appointment time, he would need to start over in attempting to obtain
                                another one through the app or he could be added to the municipality-administered
                                waitlist for those seeking to enter without a CBP One appointment. The man reached
                                out to the Kino Border Initiative who informed him he could approach CBP directly at
                                the limit line and not accept what the Mexican municipal authority wrongly informed
                                him. The man approached CBP alone, explained his situation, and was processed with
                                the next scheduled cohort.


Those waiting to seek asylum include refugees unable to use other pathways
                           
                           Over the past month, nearly 80 percent of new arrivals to the Kino Border Initiative’s Migrant
                           Aid Center reported leaving their homes due to violence or persecution. Asylum seekers
                           fleeing persecution in Cuba, Haiti, Nicaragua, and Venezuela have informed Kino Border
                           Initiative staff that they were unable to avail themselves of the Cuba, Honduras, Nicaragua,
                           and Venezuela (CHNV) parole “pathways” specific to their countries of origin that would
                           except them from the asylum ban’s application. The CHNV parole program requires long
                           wait times (many months long, as of the time of publication), each family member to have a
                           valid passport from their country of origin, a U.S. sponsor who must initiate the application
                           and have legal status within the United States, and other prerequisites that create barriers
                           and would force those fleeing persecution to continue waiting in danger. Some of these new
                           arrivals also shared that they had only learned of the parole process once in Mexico and
                           were now disqualified due to their manner of entry into Panama and/or Mexico.


                           •   A woman waiting in Nogales to seek asylum fled Venezuela because her father had a
                                business selling vegetables and “collectives” that work with the national government
                                began to extort him. He didn’t have enough money to pay the extortion fees and they
                                began to threaten to kill him. As people opposed to the current Venezuelan
                                government, she and her family could not go to the police.
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                            •   A woman waiting in Nogales to seek asylum fled Venezuela because the national
                                 police force seized her house without any police order. This happened on two
                                 separate occasions with two separate homes. The authorities beat her father and
                                 threatened to kill him if he or his family said anything.


                            The asylum ban disproportionately impacts vulnerable populations, such as Indigenous
                            people who face Indigenous language exclusion in the CBP One application and at the
                            credible/reasonable fear interview stage. The Kino Border Initiative consistently receives
                            new arrivals who are Indigenous community members and Indigenous language speakers,
                            including:


                            •   An Indigenous K’iche woman from Guatemala informed Kino Border Initiative staff that
                                 she faces persecution for being part of the Indigenous community and criminal groups
                                 have killed many people from her community.


                            •   An Indigenous Triqui grandmother, daughter, niece and grandson fled southern Mexico
                                 when armed groups forced them out of their homes, displacing them. The Triqui
                                 people organized marches and asked the government for protection in Mexico City but
                                 Mexican authorities ignored them.


                            The asylum ban restricts access to asylum for survivors of LGBTQI+ persecution and
                            gender-based violence who often continue to be exposed to high risk of harm during transit
                            and while waiting in Mexico:


                            •   A Colombian LGBTQI+ woman fled Colombia following displacement by an armed
                                 group and persecution by the Colombian police on account of her sexual orientation.
                                 She and her same-sex partner were sexually assaulted by Colombian police and she
                                 was unable to obtain state protection despite attempting to report the attack. While in
                                 Mexico, she survived sexual abuse by Mexican state police and an attempted
                                 kidnapping by a cartel group. She is terrified to remain in Mexico and cannot return to
                                 Colombia so she has been waiting for over two weeks at the DeConcini Port of Entry to
                                 seek asylum without a CBP One appointment and will be subject to the asylum ban
                                 once processed.



Women separated from family by U.S. Border Patrol struggle to access asylum

                            Human Rights First and other organizations have learned of many incidents of family
                            separation conducted by U.S. Border Patrol (a subagency of U.S. Customs and Border
                            Protection) under the Biden administration. These reports include recent incidents in which
                            Border Patrol agents transported separated family members hundreds of miles away to
                            expel them and refused to explain what was happening to them or where their family
                            members were. In late May 2023, a Human Rights First researcher spoke with four
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                Venezuelan women who had been waiting outside the Nogales port of entry to seek asylum
                for many days, and reported that they were each separated by Border Patrol from their
                respective family groups and/or others they were traveling with after crossing into the
                United States near Matamoros, Tamaulipas, Mexico during the final days of Title 42. These
                four Venezuelan women were expelled to Nogales, Sonora, Mexico – 1200 miles away – in a
                group that included an estimated 200 women. The women remain stranded in Nogales, still
                unable to seek asylum, now on account of the Biden administration asylum ban.

                •   A woman seeking asylum from Venezuela, Xóchitl*, was separated by Border Patrol
                     from her husband, subsequently expelled under Title 42 alone 1200 miles away to
                     Nogales, and struggles to seek asylum in wake of Biden asylum ban:


                     “[Border Patrol] asked if there were any married couples. We told them we were
                     married and had our legal marriage certificate. We were then separated. I spent four
                     very cold nights in a soft-sided tent without any information on my husband. I was
                     then handcuffed at the wrists, ankles, waist and transported by plane with 200 other
                     women, still not told what was happening or where my husband was. I was then
                     returned through Nogales, Mexico alone with these other women. Only once in
                     Nogales did I hear from my husband. He had been returned back to Matamoros.


                     It was horrible. The [Border Patrol] officers mocked us. There were many women
                     crying and they [the officers] would laugh. When they boarded us on the plane, we
                     weren't even told where we were going. They crossed us back to Nogales without
                     giving us any information, not even the name or location of a shelter.”


                Shortly after, this woman's husband tried again to enter the United States from Matamoros,
                Tamaulipas, Mexico to seek asylum. This time, Xóchitl reports, he was paroled and issued a
                court date, at which point he will have a chance to plead his case for protection; what he
                may or may not realize is that, if he entered on or after May 12th, the Biden administration’s
                asylum ban will most likely apply to him when he goes before an immigration judge and he
                will be likely ineligible for asylum due to his manner of entry. His wife, Xóchitl, meanwhile
                remains alone in Nogales. She was waiting in line outside the port for over two weeks. She
                was unaware of the potential consequences of the Biden administration asylum ban on
                people who enter at the port without an appointment. Even though she has been waiting at
                a U.S. port of entry, the ban will likely block her from asylum and she may be deported to
                Mexico or Venezuela with a five-year ban on entry to the United States.


                •   Border Patrol separated a Venezuelan woman, Veronica*, from her sister and her
                     partner. Veronica was then expelled under Title 42 alone to Nogales – 1200 miles
                     away. In early May 2023, a Venezuelan woman crossed into the United States from
                     Matamoros, Tamaulipas, Mexico together with her adult sister, two female friends, her
                     partner, and her partner’s four brothers. She spent four nights in a soft-sided CBP facility
                     where she was not permitted to shower and was then separated from her sister, partner
                     and other female friends and expelled under Title 42 alone on May 7th through Nogales,
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                     Mexico, 1200 miles away. She has been trying to obtain a CBP One appointment to seek
                     asylum for two months, including the last month she has been in Nogales with two
                     other women, Ulia and Teofila, who were also expelled alone. She shared:


                     “We have been trying to get a [CBP One] appointment. We don’t even have money
                     for food. We decided to turn ourselves in at the port as a last resort. We have
                     nowhere to sleep. Shelters only let you stay one week. This bench and floor is where
                     we’re sleeping tonight.”


                     She was unaware of the potential consequences of the Biden administration asylum
                     ban on people who enter at the port without an appointment. Even though she has been
                     waiting at a U.S. port of entry, the ban will likely block her from asylum and she may be
                     deported to Mexico or Venezuela with a five-year ban on entry to the United States.




                Venezuelan women separated from family
                by U.S. Border Patrol and expelled to
                Nogales, Mexico wait to seek asylum.


                •   A Venezuelan woman, Ulia*, was separated from her partner and his family, expelled
                     alone 1200 miles away. Ulia arrived in Mexico in October 2022 together with her
                     partner and his extended family; they were all blocked from seeking asylum under Title
                     42. Ulia, her partner, and their extended family had been attempting to request a CBP
                     One appointment since mid-February 2023. After three months of daily struggles with
                     the CBP One application, Ulia and her partner crossed into the United States in early
                     May 2023 from Matamoros, Mexico and were detained by Border Patrol agents. Ulia
                     was held in a soft-sided facility for three days while her partner was held for seven days
                     and then paroled and issued a notice to appear in immigration court, where he will be
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                     able to plead his asylum claim; what Ulia’s partner may or may not realize is that, if he
                     was registered as entering on or after May 12th, the Biden administration’s asylum ban
                     will most likely apply to him when he goes before an immigration judge and he will be
                     ineligible for asylum due to his manner of entry. However, Ulia was separated from him
                     and expelled alone through Nogales, Mexico, over 1,200 miles away on May 7, 2023. Ulia
                     detailed how her partner’s extended family with whom she was traveling were all
                     separated:


                     The entire family, with the exception of her and her partner, all crossed into the United
                     States to seek asylum through Ciudad Juárez, Chihuahua, Mexico in October 2022, yet
                     there were arbitrary and disparate outcomes which are divorced from refugee law:


                     o A Venezuelan couple (Ulia’s partner’s sister) with their three-year-old daughter
                        were expelled under Title 42 through Matamoros, Mexico. They repeatedly tried to
                        cross and were expelled, but incredibly obtained a CBP One appointment on the
                        very first day the application launched and were paroled in.


                     o A Venezuelan single mother and her two adolescent children (relatives of Ulia's
                        partner) were expelled under Title 42 through Nogales, Sonora and then sent further
                        south by Mexican immigration authorities to Hermosillo, Sonora, Mexico. They
                        returned to Cuidad Juárez, Chihuahua, Mexico (near El Paso, Texas) and were
                        paroled during their second attempt to enter the United States.


                     o A Venezuelan couple who are Ulia's friends and a Venezuelan single adult friend
                        were expelled under Title 42 through Cuidad Juárez, Chihuahua, Mexico;


                     o An Ecuadorian and Venezuelan couple, Ecuadorian mother-in-law and Ecuadorian
                        three-year-old child (relatives of Ulia's partne) were paroled the same day they
                        entered in October 2022 through El Paso.


                •   Teofila*, a Venezuelan woman, was separated from her traveling companions who
                     were also survivors of sexual violence, expelled to Nogales alone – 1200 miles away.
                     During her journey to Mexico, Teofila was kidnapped and sexually assaulted while
                     traveling with a group of 27 people on foot through the mountains of Guatemala. Two
                     other women with her were also sexually assaulted. Part of her group made it to
                     Matamoros, Tamaulipas, Mexico where seven of the men in the group were kidnapped
                     from their tents and held hostage for one month. Teofila finally made it to Matamoros
                     and crossed into the United States in early May 2023 to seek life-saving asylum
                     protection together with the other two survivors of sexual violence. The other two
                     women were paroled in to the U.S. under Title 42 while Teofila was expelled alone about
                     1,200 miles away to Nogales, Mexico.
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                          Teofila remains alone in Nogales where she has been the last month. She recently
                          arrived to the DeConcini Port of Entry to attempt to seek asylum. She was unaware of
                          the potential consequences of the Biden administration asylum ban on people who
                          enter at the port without an appointment. Even though she has been waiting at a U.S.
                          port of entry, the ban will likely still render her ineligible for asylum because she failed to
                          obtain an appointment through the CBP One application which functions similar to that
                          of a lottery, failed to obtain permission to enter the United States through the CHNV
                          parole program she is ineligible for based on her date of entry to Mexico and lack of a
                          Venezuelan passport, and failed to seek asylum protection in Guatemala and Mexico –
                          despite having survived sexual assault and other forms of harm while traveling those
                          countries. If or when Teofila is determined to be ineligible for asylum, she is likely to be
                          deported to Mexico or Venezuela with a five-year ban on re-entry to the United States.


                      Similarly, Human Rights First researchers previously identified other cases of family
                      separation by Border Patrol agents during the last days of Title 42. In these cases, families
                      who had crossed into the United States through Matamoros were separated by Border
                      Patrol from family members who were expelled under Title 42 or whose whereabouts were
                      unknown. Among these were seven pregnant Haitian women, a married Venezuelan
                      couple, and a twenty-one-year-old young adult who had been separated from her parents,
                      among others.



Recommendations
                      Uphold refugee law and right to seek asylum: The Biden administration, as well as DHS
                      and DOJ, must uphold U.S. and international refugee law and immediately rescind their
                      asylum ban. People seeking asylum must not be penalized and/or barred if they arrive at an
                      official port of entry without an appointment or due to their irregular entry or transit routes to
                      the United States, in accordance with U.S. and international law. People seeking asylum
                      must not be forced to wait and wait, or be subjected to improper metering, at U.S. ports of
                      entry – and Mexican nationals should not be left to “wait,” trapped at risk in their country of
                      feared persecution.


                      The CBP One smartphone application cannot be used to ban, block, delay or limit others
                      from seeking asylum: The Biden administration must ensure equitable access to seek
                      asylum for all individuals without discrimination, including for those without the means to
                      purchase a smartphone, obtain access to electricity and internet while stranded in Mexico,
                      as well as those who are illiterate, or who speak languages other than the few employed by
                      CBP One, including Indigenous languages. While the Biden administration asylum ban is in
                      effect, the CBP One application cannot be essentially the only path through which non-
                      Mexicans can seek asylum at the U.S. southwest border without incurring the penalties of
                      the asylum ban.


                      Maximize rather than limit asylum processing capacity at ports of entry, including for
                      Mexican and other asylum seekers without CBP One appointments: DHS must maximize
                      asylum processing capacity at ports of entry, including for those without CBP One
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                                                                                                            




                appointments and stop deprioritizing people without appointments to seek asylum at ports
                of entry. While government officials report surging resources to the U.S./Mexico border, it is
                insufficient. The U.S. government’s failure to increase and sustain critical resources –
                including personnel, physical infrastructure, internet and computers, and other resources
                required to significantly increase CBP’s Office of Field Operations’ processing of asylum
                seekers at all ports of entry – is resulting in irreparable, life-threatening harm to people
                seeking asylum in need of protection.

                Given the overwhelming evidence of kidnappings, trafficking, sexual assault,
                disappearances, robbery, and extortion by organized criminal groups with the complicity
                and participation of Mexican authorities, the only effective approach to addressing the
                number of asylum seekers at the U.S.-Mexico border, including Nogales, is for U.S. ports of
                entry to be the safest, most efficient, and fair way to seek asylum. To achieve this, the U.S.
                government must make a concerted and intentional effort to redistribute the resources it
                currently appropriates for deterrence-based practices and policies and instead
                reallocate those resources towards ports of entry. DHS must ensure timely processing of
                all asylum seekers in accordance with U.S. law and core principles of international refugee
                law binding on the United States. Furthermore, resources and specialized teams within DHS
                entities must be equipped to identify and immediately process those with urgent medical
                and protection situations without applying a narrow interpretation with a heightened
                standard of proof and scrutiny as the asylum ban does. Mexican government wait lists are
                not the answer to the U.S. government’s failure to properly resource its border ports of entry;
                CBP needs to significantly increase asylum processing, including for people without
                appointments. Mexican asylum seekers must not be left waiting to seek U.S. asylum in their
                country of feared persecution.

                Stop separating families in DHS agencies’ custody and processing: The right to family
                unity requires that family members are not separated. DHS must take steps to ensure
                families are processed together including in the same processing “pathway,” are not
                separated and deported or otherwise sent back through different ports of entry, and are
                provided timely information on the status and whereabouts of other family members.

                Increase government and other aid: Increase government and other aid to support
                humanitarian efforts in Nogales, Mexico (and other areas in Mexico) where people are
                waiting to seek asylum and to support humanitarian reception in the United States. DHS
                must shift funds away from over-funded detention, enforcement and surveillance accounts
                and surge funds toward reception services.
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                                                                                                                     




Mission Statement
                        Human Rights First works to create a just world in which every person’s intrinsic human
                        rights are respected and protected, to build societies that value and invest in all their people.
                        To reach that goal demands assisting victims of injustice, bringing perpetrators of abuse to
                        justice, and building institutions that ensure universal rights.



                        Human Rights First is a nonprofit, nonpartisan international human rights organization
                        based in Los Angeles, New York, and Washington D.C.



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                        research on access to asylum and representation of asylum seekers. We honor and thank
                        the numerous asylum seekers who bravely shared their stories in hopes of bettering the
                        system for all those who seek protection and refuge in the United States.
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                Exhibit &
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                Exhibit '
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                       Limits on Access to Asylum After Title 42: One
                       Month of Monitoring U.S.-Mexico Border Ports
                       of Entry
                       June 2023




On May 11, 2023, the U.S. public health order known as “Title 42” was lifted, marking the end of a policy that
was used for three years to expel people seeking refuge at the U.S.-Mexico border without access to the U.S.
asylum process. The U.S. government returned to border processing under Title 8 – the section of the U.S. code
that lays out U.S. immigration law, including the legal right to apply for asylum when arriving in the United States
or after crossing into the country. However, at the same time, a new regulation1 took effect that renders most
asylum seekers ineligible for asylum if they transited through a third country en route to the United States unless
they use the (U.S. Customs and Border Protection) CBP One smartphone app to schedule one of a limited number
of appointments at a border port of entry, had sought and been denied asylum in a transit country, or meet
other narrow exceptions.
A working group of U.S., Mexican, and international NGOs that provide humanitarian and legal support to asylum
seekers and migrants in the border region conducted targeted in-person monitoring at ports of entry to
understand the impact of these policy shifts on access to asylum. Between May 11 and June 12, 2023,
observations took place at six ports of entry in California (San Ysidro and Otay Mesa), Arizona (Dennis DeConcini),
and Texas (Bridge of the Americas, Paso Del Norte and Ysleta) that adjoin the Mexican cities of Tijuana, Nogales,
and Ciudad Juárez.2
The monitors’ key findings include:
    x   While a limited number of asylum requests by individuals and families without prescheduled appointments
        were processed at most of the monitored U.S. ports of entry, practices by U.S. and Mexican authorities
        restricted asylum seekers without CBP One appointments from physically reaching U.S. ports of entry to
        make protection requests. Media reports and researchers have highlighted accessibility challenges with
        the CBP One app that may exclude some of the most vulnerable asylum seekers, including Black migrants,
        Indigenous people, and people lacking access to smartphones and strong Wi-Fi signals.3
    x   Limited processing or “metering” of asylum seekers without CBP One appointments resulted in lines,
        waitlists, and informal encampments at or near the monitored ports of entry in Mexico, even as the


1 The U.N. Refugee Agency urged the U.S. government to reconsider the asylum ban regulation, concluding that it “would restrict the
fundamental human right to seek asylum for people” and “lead to cases of refoulement – the forced return of people to situations where
their lives and safety would be at risk – which is prohibited under international law.” UNHCR, “UNHCR urges United States to not
implement proposed barrier to asylum,” March 27, 2023, https://www.unhcr.org/us/news/unhcr-urges-united-states-not-implement-
proposed-barrier-asylum.
2 Data from observations was collected using a cloud-based tool designed collaboratively by the working group to document demographic

and humanitarian observations, practices by government officials, and rights violations at the observed ports. The group met three times
during the monitoring to discuss observations.
3   See, e.g., “The new US border wall is an app,” MIT Technology Review, June 16, 2023,
https://www.technologyreview.com/2023/06/16/1074039/border-wall-app/amp/; Kocher A. Glitches in the Digitization of Asylum: How
CBP One Turns Migrants’ Smartphones into Mobile Borders. Societies. 2023; 13(6):149. https://doi.org/10.3390/soc13060149.
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Limits on Access to Asylum After Title 42 – June 2023                                                                               2



         number of CBP One appointments increased at the start of June 2023.4 Families and adults were observed
         living in difficult humanitarian circumstances with unmet basic needs, exposed to potentially dangerous
         conditions, and at risk of trafficking and exploitation.
     x   People waiting to request asylum at U.S. ports of entry lacked adequate and accurate information. Many
         did not appear to understand the potential legal consequences of the recently implemented “asylum ban”
         rule that renders most people seeking international protection without a CBP One appointment, even if at
         a port of entry, ineligible for asylum.
 The working group urges the U.S. government to: fully restore access to asylum; surge agency staff (not troops)
 and other resources to ports of entry, as needed; and rescind the asylum ban that counterproductively punishes
 asylum seekers who line up to request protection at official border crossing points merely because they have
 not been able to preschedule one of the limited CBP One appointments. U.S. government reports have
 repeatedly found that limiting asylum at ports of entry leads individuals, who would otherwise have sought, or
 who tried to seek, protection at a port, to instead make dangerous, irregular border crossings. These and other
 recommendations to establish a safe, humane, and orderly process at ports of entry are included at the end of
 this document along with an Annex of additional observations made at the six monitored ports of entry.
 Restrictions on Seeking Asylum Seen at All Monitored Ports of Entry
 At all six locations, asylum seekers were not able to freely approach the port of entry to request asylum. These
 “metering” practices resulted in lines and/or waitlists of asylum seekers at most observed ports of entry. At
 some ports on some days visited by the monitors, individuals and families without CBP One appointments were
 unable to seek asylum, while on other days ports were observed processing between 4 to 40 people without
 appointments while hundreds were observed waiting in line or in nearby informal encampments. At the three
 monitored ports in Ciudad Juárez asylum seekers self-organized informal waiting lists, while in Nogales and
 Tijuana Mexican authorities administered waitlists. Asylum seekers without prescheduled appointments
 reported waits outside of ports of entry of up to two weeks to be processed by CBP.
 At the six monitored ports of entry, CBP officers were observed directly interacting with people attempting to
 seek asylum, turning them away or instructing them to join lines on the Mexican side of the border and, on other
 occasions, informing waiting asylum seekers on when and if they would be processed. In mid-May 2023, in the
 initial days of monitoring after the Title 42 policy ended, CBP officers at Otay Mesa and Paso del Norte were
 observed directly turning away asylum seekers without CBP One appointments, telling them they would not be
 processed. A CBP officer on the Paso del Norte bridge told a group of asylum seekers without CBP One
 appointments that asylum without a prearranged appointment “doesn’t exist anymore.” In early June 2023,
 monitors heard a CBP officer at the gate to the Dennis DeConcini port of entry turn away a man who declared
 himself to be seeking asylum, telling the man to “go back to the line” of asylum seekers without CBP One
 appointments. CBP officers were also observed directly communicating with asylum seekers without
 appointments waiting on the Mexican side of the border line in Nogales and Ciudad Juárez, informing those at
 the head of the line of the number of people without appointments to be processed at any given point.
 Mexican authorities (including police and migration officials) and private security guards prevented some asylum
 seekers from approaching U.S. ports of entry either directly turning them away or by placing them on waitlists.
 At the Pedestrian West entry to the San Ysidro port of entry, Mexican officials did not permit individuals without
 CBP One appointments and corresponding identification documents to cross the pedestrian bridge leading to




 4@CBP, Twitter, June 2, 2023, https://twitter.com/CBP/status/1664617975494606855 (“Beginning yesterday, June 1, CBP is expanding
 the number of [CBP One] appointments to 1,250 per day.”).
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Limits on Access to Asylum After Title 42 – June 2023                                                                                3



 the U.S. port of entry. For instance, monitors observed Grupos Beta5 turn away an asylum seeker and her three
 minor children because the CBP One app had generated appointments for the family on different dates, and
 only one member of the family had a scheduled appointment that day. Monitors also observed a Tijuana police
 officer at the Pedestrian West side of the San Ysidro port of entry tell a family without an appointment to leave
 the area and stay at least one block south. A Tijuana police officer told one monitor that he communicates the
 message that “the only legal way to enter the U.S. is through the [CBP One] application.” In June 2023, at the
 Pedestrian East side of the San Ysidro port of entry, Mexican authorities ordered waiting asylum seekers to clear
 the area stating that Mexican child protection officials would arrive, which asylum seekers understood to be a
 threat to remove their children, if they did not comply. In Nogales, the municipal Bienestar Social (Social
 Wellbeing) Agency established a system with QR codes to manage the line of waiting asylum seekers without
 CBP One appointments, assigning codes to the first 100 people in line and allowing only about 20 people to
 remain in line near the Dennis DeConcini port of entry. Local authorities in Nogales asserted to waiting asylum
 seekers that asylum can only be sought through the QR code system.
 Difficult Humanitarian Circumstances and Dangerous Conditions as People Await Asylum Access
 Lines and informal encampments of waiting asylum seekers arose at or near observed ports of entry in Tijuana,
 Nogales, and Ciudad Juárez, leaving vulnerable individuals and families in difficult humanitarian circumstances
 and facing potentially dangerous conditions, such as health problems, adverse weather conditions, and security
 risks. Yet, many asylum seekers expressed reluctance to relocate to more formal shelter facilities, where these
 were available, for fear of losing their place in line or being detained by Mexican migration officials if they left
 the port of entry area.
 Many of these encampments lacked sufficient basic necessities (food, water, access to bathrooms and showers,
 sanitary napkins) and waiting asylum seekers were sleeping on sidewalks/pavement on pieces of cardboard.
 They were exposed to rain, high heat during the day, and low
 temperatures at night. In Tijuana, Nogales, and Ciudad Juárez,     In May 2023, a 31-year-old Haitian
 sick children, pregnant people, and persons with disabilities were asylum seeker with hypertension and a
 observed in the port of entry encampments. Even in cases with      high-risk pregnancy, who indicated to
 clear humanitarian concerns, based on monitors’ observations       monitors that she had previously been
 there does not appear to be a system to submit requests to CBP     denied assistance at local hospitals in
 for expedited consideration of asylum seekers with medical         Tijuana, declined an offer by local
 emergencies or other urgent humanitarian needs or security         officials for a care referral for fear that
 concerns. Refugee Health Alliance, an NGO that provides health     she would lose her place in the informal
 services to migrants in Mexico, reported that CBP officers         asylum line at the San Ysidro port of
 rejected requests for humanitarian parole of individuals in        entry.
 Tijuana for whom its staff had provided letters to document their
 urgent medical needs.
 Monitors noted that waiting asylum seekers were subject to security and other risks. People in the line in
 Nogales, particularly women, reported feeling unsafe at night in an area where it was reported that actors
 involved in drug and human trafficking often operate. Monitors also noted the presence of individuals who
 appeared to be human traffickers near some Ciudad Juárez ports of entry. A 2022 needs assessment conducted
 by the IRC along Mexico’s northern border found that half of the people surveyed reported they had directly
 experienced a safety issue or crime in Mexico. They identified several risks for their families, including sexual
 violence (23%), kidnapping (19%), and threats (16%). Asylum seekers also reported to monitors detainments by
 the Instituto Nacional de Migración (INM, National Institute of Migration), including three Tajik asylum seekers

 5 Grupos Beta de Protección a Migrantes is an entity within the Instituto Nacional de Migración (National Institute of Migration)
 established to provide information and basic assistance to migrants in Mexico. See https://www.gob.mx/inm/acciones-y-
 programas/grupos-beta-de-proteccion-a-migrantes.
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Limits on Access to Asylum After Title 42 – June 2023                                                                                      4



 who said that they were taken to the Esmeralda migration station in Tijuana and asked for 1,000 pesos (about
 55 USD) to avoid deportation. Because lines and informal encampments formed in public spaces, members of
 the media and other individuals have photographed waiting asylum seekers, raising concerns, particularly for
 Mexican asylum seekers, that publication of their images could result in their persecutors encountering them.
 Lack of Accurate Information About Asylum Processes Widely Observed
 Lack of information about the current U.S. asylum process rendered some asylum seekers vulnerable to
 exploitation. In May 2023, an asylum-seeking Uzbek family who appeared for a CBP One appointment at the San
 Ysidro port of entry were turned away by officials after a review of their documents by Grupos Beta indicated
 that they had been provided a fake appointment. The family, who spoke only Uzbek and had arrived in Tijuana
 four days prior, explained through an interpreter that the person who claimed to be setting up an appointment
 for them had charged them for this false service. Also in Tijuana, reports were received of taxi drivers charging
 exorbitant sums (up to 1,000 pesos or approximately $55 USD) to take asylum seekers to the port of entry to
 request information on the asylum process. At observed ports of entry where monitors spoke with awaiting
 asylum seekers without CBP One appointments, many expressed confusion about the difference between Title
 42 and the current process or were unaware of the new restrictions that make individuals requesting protection
 at a port of entry without a CBP One appointment, including themselves, presumptively ineligible for asylum. 6




 6 The asylum ban regulation has already contributed to a nearly 50 percent drop in positive credible fear screenings from an average of

 83 percent in 2014 to 2019 (before the Title 42 policy was implemented) to 46 percent in the month since it was implemented. See Hamed
 Aleaziz, “U.S. is rejecting asylum seekers at much higher rates under new Biden policy,” LA Times, June 20, 2023,
 https://www.latimes.com/politics/story/2023-06-20/biden-asylum-seekers-turned-down-rates.
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Limits on Access to Asylum After Title 42 – June 2023                                                                5



 Recommendations for Safe, Humane, and Orderly Asylum Processes at U.S. Ports of Entry
 1.       Uphold the legal right to seek asylum: The U.S. government should rescind the asylum ban regula on,
 including its counterproduc ve penaliza on of asylum seekers who a empt to request protec on at ports of
 entry without CBP One appointments. People seeking asylum should not be subjected to turnbacks or other
 limits on requests for protec on at ports of entry. This prac ce, known as “metering,” was declared by illegal by
 a U.S. federal court, and the U.S. Department of Homeland Security (DHS) mandated that its oﬃcers “may not
 instruct [asylum seekers] that they must return to the [port of entry] at a later me.”
 2.       Surge resources to increase port of entry processing capacity: The U.S. government should maximize
 asylum processing at ports of entry by direc ng the current surge in resources to the border to support CBP’s
 Oﬃce of Field Opera ons’ staﬃng needs, port infrastructure gaps, and technological requirements - not for
 militariza on of the border. Congress should ensure that appropria ons are directed to swi , humane, and
 eﬀec ve processing at ports of entry that respects the right to seek asylum.
 3.      Strengthen humanitarian capacity along the border in Mexico and the U.S.: Humanitarian eﬀorts in the
 borderlands have historically been underfunded and surpassed by the needs of migrants, asylum seekers and
 hos ng communi es. Increased aid is needed in Mexico where people are wai ng to seek asylum and in the
 United States for sustainable, orderly and safe NGO-led humanitarian recep on of asylum seekers at the border
 a er DHS processing. Congress should provide addi onal funding through the State Department and the Oﬃce
 of Refugee Rese lement to strengthen humanitarian capaci es on both sides of the border. In the immediate
 term, DHS can shi funds away from harmful and costly migra on deten on to meet recep on service needs.
 4.      Develop mechanisms for urgent processing of asylum seekers with acute medical needs, heightened
 security concerns, or other emergent circumstances: Resources should be dedicated, and staﬀ equipped, within
 DHS to iden fy and swi ly process asylum seekers facing urgent medical and other protec on needs – many of
 which arise due to the persecu on the individual is fleeing. While the asylum ban regula on remains in place,
 CBP should provide to asylum seekers processed due to emergency circumstances without CBP One a wri en
 waiver as proof of their situa on.
 5.      Scale up mely, ac onable informa on to combat misinforma on and enable asylum seekers to
 locate services: Increased informa on helps people on the move to make informed choices to find pathways to
 protec on and disempowers smugglers who deploy misinforma on to prey on asylum seekers. In the days
 leading up to the end of Title 42, visits to IRC’s informa on pla orm for Mexico doubled compared to the prior
 month, with the most searched inquiries related to understanding the changes in eligibility for asylum; Title 42
 and how it impacts the ability to seek protec on; Title 8 and what it means; what the CBP One smartphone app
 is and how to use it, and how to find rela ves detained by authori es on either side of the U.S.-Mexico border.
 People trying to seek asylum at U.S. ports of entry remain in urgent need of accurate informa on on the process.
 6.      U lize technological solu ons to expand and improve eﬃciency of, not restrict, asylum processing:
 The CBP One smartphone app and other technologies can present opportuni es for gains in eﬃciency and scale
 but also exclude individuals who lack the means or know-how to use them, resul ng in barriers that may violate
 the Refugee Conven on’s guarantee of non-discrimina on. Requiring use of such technologies to access the
 asylum process, as opposed to oﬀering an addi onal pathway, is yet more concerning in situa ons where people
 seeking asylum face security risks and diﬃcult humanitarian circumstances. Hinging access to seek and enjoy
 asylum on whether people fleeing for their lives can book an appointment on a smartphone app is neither right
 nor prac cal. The CBP One app requires significant improvements, but even with those fixes in place, it should
 never be the only means to eﬀec vely request protec on at a U.S. port of entry.
 Annex: Limits on Access to Asylum After Title 42 – June 2023                                                                                                                       6



City                Ciudad Juárez                                           Nogales                                                  Tijuana
Practices           Paso del Norte Port of Entry - As of early June 2023,   Dennis DeConcini Port of Entry - CBP officers had        San Ysidro (Pedestrian East) Port of Entry - As of May
Observed at         monitors observed up to 4 to 5 asylum seekers           direct interactions with waiting asylum seekers. On      24, 2023, monitors observed a total of 20 to 40
                    without CBP One appointments permitted by CBP to        June 9, 2023, monitors observed an asylum seeker         individuals without CBP One appointments processed
International       approach the POE on a single day, though not every      waiting in line of individuals waiting to approach the   on a given day in small groups, approximately every
Bridges/Ports of    day. CBP officers encouraged individuals to use the     POE. When this person was next in line a CBP officer     five hours. As of early June 2023, monitors noted that
Entry for People    CBP One Application rather than wait in line without    asked for his documents, to which he responded, “I       10 people had been processed in approximately 13- to
Seeking Asylum in   an appointment and at the same time explained that      have these documents related to my case, I am            14-hour                                         period.
                    it was possible to be processed without an              seeking asylum.” The CBP officer said “well, so are
the U.S. Without    appointment.                                            they [pointing to individuals without CBP One            Some asylum seekers in the area reported being
CBP One                                                                     appointments], so go back to the line and we’ll take     detained by officials from INM, including three asylum
Appointments        Previously on May 13, 2023, monitors noted that         you as we can, that’s how we’re doing things.”           seekers from Tajikistan, who said that they had been
                    individuals without CBP One appointments were not       Previously, on May 15, 2023, monitors observed CBP       taken to the Esmeralda migration station in Tijuana and
                    being processed and witnessed CBP tell individuals      officers counting the number of people in line           asked for 1,000 pesos (about 55 USD) to avoid
                    that asylum without a prearranged appointment           without CBP appointments and telling those in line       deportation. Monitors also noted the presence of
                    “doesn’t exist anymore." Monitors noted Ciudad          that they would be attended to after individuals with    Mexican National Guard, who intervened in a security
                    Juárez local and Chihuahua state police presence,       CBP One appointments had been processed.                 incident witnessed by monitors.
                    observing the POE area.
                                                                            In May and June 2023, monitors observed individuals      San Ysidro (Pedestrian West) Port of Entry - As of June
                    Ysleta Port of Entry - As of early June 2023, there     without CBP One appointments processed in small          12, individuals without CBP One appointments had not
                    were approximately 75 people without appointments       groups (including a family of 11 people on one           been observed being processed through this POE.
                    on an asylum waitlist, managed by asylum seekers        occasion) after those with CBP One appointments          Various Mexican government authorities were
                    themselves. CBP officers informed those at the head     had been processed. Waiting asylum seekers               observed interacting with asylum seekers without CBP
                    of the line of the number of people without             reported approximately an average of 10 to 20            One appointments at this port of entry. On May 15, a
                    appointments to be processed at any given point.        people without CBP One appointments were                 family of 12 Mexican asylum seekers reported that
                    Monitors observed up to 10 to 14 asylum seekers         processed in the middle of the night on most nights.     they were told by Grupos Beta to speak with CBP
                    without CBP One appointments permitted by CBP to        Monitors observed three unaccompanied children           officers, if they wished to seek asylum. The group
                    approach the port of entry on a single day, but also    approach and access the POE for processing. As of        passed through an initial screening point but were
                    noted at least one day on which no asylum seekers       May 23, 2023, monitors noted some individuals had        stopped by Mexican officials on the pedestrian bridge
                    were processed (May 14, 2023). Monitors noted           been waiting outside the port for up to two weeks.       leading to the port of entry and returned without
                    Ciudad Juárez local and Chihuahua state police                                                                   reaching the POE. Tijuana police told the group to
                    presence,      observing      the     POE      area.    During the first week of observations in mid-May         move at least one block away from the port. On several
                                                                            2023, INDAABIN (a private Mexican security firm)         occasions, Grupos Beta was observed telling asylum
                    Between May 13 and approximately May 24, 2023,          tried to remove individuals without a CBP One            seekers without proof of a CBP One appointment that
                    FIDD (a private Mexican security firm) restricted       appointment from the POE area. Monitors observed         they would not be processed. Monitors observed a
                    access to the Zaragoza bridge and managed the queue     a conversation in which CBP officers informed            Tijuana police officer tell a family without a CBP One
                    of asylum seekers without CBP One appointments. On      INDAABIN that there had been changes in US policy        appointment that they had to leave the POE area and
                    some visits in May 2023, observers also noted INM       and that individuals without a CBP One appointment       stay at least one block south, or else police would
                                                                                                                                                                                               Case 4:18-cv-06810-JST Document 181-2 Filed 06/23/23 Page 70 of 74




                    officers dissuade asylum seekers from staying on the    would be processed. CBP added that that they [CBP]       transport the family to the Reforma Sports Complex
                    bridge and ask that they leave the bridge at night.     could not tell INDAABIN what to do on the Mexican        where there is a migrant camp. A Tijuana police officer
                                                                            side             of           the           border.      told a monitor that he communicates the message that
                                                                                                                                     “the only legal form to enter the U.S. is through the
Annex: Limits on Access to Asylum After Title 42 – June 2023                                                                                                                     7

                  In mid-May 2023, observers witnessed an incident in     Observers also noted local Mexican police presence,   [CBP One] Application.” The same officer told a
                  which CBP officers informed FIDD that "minors are       monitoring the POE area.                              monitor: “We have orders to keep the POE block clean
                  next in line." FIDD communicated this to the next two                                                         [of asylum seekers]. If we don’t follow orders, there are
                  families in line who then sent their seven adolescent                                                         consequences.”
                  children to CBP at the POE with their mothers staying
                  behind in Mexico at the Zaragoza Bridge. After two                                                            Otay Mesa Port of Entry - On May 12, 2023, a group of
                  hours, the mothers approached CBP officers on the                                                             asylum seekers without CBP One appointments
                  bridge asking about their children's whereabouts. CBP                                                         attempted to access the POE just after midnight EST
                  informed them that they had mistakenly processed                                                              (when the Title 42 policy had ended). CBP officers
                  the children as unaccompanied children and would                                                              informed them to wait. At 1:15am EST, CBP officers
                  return them to Mexico. Two hours later CBP allowed                                                            asked the group to leave the premises and informed
                  the mothers to pass the CBP checkpoint and reunified                                                          them that they would not process anyone without a
                  them with their children at the POE. Observers spoke                                                          CBP One appointment. During that observation
                  with CBP officers who said that they had told FIDD to                                                         monitors asked CBP if they would be processing asylum
                  send unaccompanied children and had assumed that                                                              seekers, CBP responded: “it is very easy to do it
                  the seven adolescents were unaccompanied.                                                                     through the app [CBP One], there are many shelters in
                                                                                                                                Tijuana and they help you fill out the app, you can get
                  Bridge of the Americas Port of Entry - As of June 13,                                                         an appointment in two or three days [through the
                  2023, monitors observed CBP officers at the middle of                                                         app].”
                  the international bridge speaking with individuals in
                  the line, checking their documents. Observers noted                                                           Monitors noted the presence of a Baja California Norte
                  that some individuals without CBP One appointments                                                            State Migrant Affairs representative, who informed
                  were being allowed to pass the CBP checkpoint at the                                                          individuals waiting in line that “cases without a CBP
                  middle of the bridge to approach the U.S. port of                                                             One appointment will not be processed” and offered
                  entry.                                                                                                        to refer them to shelters.
                                                                                                                                                                                            Case 4:18-cv-06810-JST Document 181-2 Filed 06/23/23 Page 71 of 74
Annex: Limits on Access to Asylum After Title 42 – June 2023                                                                                                                       8


Queues of         Paso del Norte Port of Entry - The line of asylum       Dennis DeConcini Port of Entry - Around May 20,          San Ysidro (Pedestrian East) Port of Entry - In early
Individuals       seekers was self-organized, with individuals assigned   2023, the municipal Bienestar Social agency              June 2023, observers noted the presence of
                  numbers to maintain the queue. CBP officers             established a system with QR codes to manage the         approximately 200 to 300 asylum seekers without CBP
Without CBP One   informed those at the head of the line of the number    line of waiting asylum seekers without CBP One           One appointments in a line waiting to access the
Appointments      of individuals without appointments to be processed     appointments. Staff from the agency asked for            Pedestrian East side of the San Ysidro port of entry.
                  at any given point.                                     asylum seekers’ full names and telephone numbers         While the observers were present, Mexican authorities
                                                                          and issued QR codes to the first 100 waiting asylum      announced that if asylum seekers did not clear the
                  Ysleta Port of Entry - Since approximately May 24,      seekers in line, these codes are recycled and            area, the Mexican child protection service would
                  2023, the queue was self-organized. Previously,         distributed to the next asylum seekers in line as        arrive, which asylum seekers understood to be a threat
                  between May 13 and approximately May 24, 2023,          individuals are processed. After the establishment of    to remove children from their families. These
                  FIDD (Private Security Company), managed the list of    the QR code system, only about 20 asylum seekers         authorities noted the order of waiting asylum seekers,
                  waiting asylum seekers; CBP informed FIDD when          without CBP One appointments were permitted to           took down their names and phone numbers, issued
                  they would be processing individuals and how many       remain in the physical line near the POE. Bienestar      them a corresponding number (per individual or family
                  and FIDD proceeded to call that number of individuals   Social notifies individuals in the waitlist when their   group) based on their position in the line, numbers
                  from the list.                                          turn is up to wait in the POE area. Once in the POE      were written on asylum seekers’ arm with a marker
                                                                          line, CBP officers inform those asylum seekers at the    and directed them to buses that were said to be going
                  Bridge of the Americas Port of Entry - The line of      head of the line of the number of people without CBP     to shelters. It was not clear which Mexican authority
                  asylum seekers was self-organized. CBP officers         One appointments to be processed at any given            was managing the list, but these authorities contacted
                  informed those at the head of the line of the number    point.                                                   individuals on the list to inform them to approach the
                  of people without appointments to be processed at                                                                POE. It was not clear to the observers how new arrivals
                  any given point.                                        As of June 12, 2023, the list maintained by Bienestar    would access this process and/or obtain information
                                                                          Social was made up of approximately 300 individuals      about                                                it.
                                                                          (with new arrivals being added). Monitors observed
                                                                          the Social Wellbeing Agency make determinations          Previously, between May 24 and June 2, 2023, the
                                                                          about who to place at the top of the list, a staff       queue outside the port was self-organized by asylum
                                                                          member from the Agency told a monitor that “there        seekers without CBP One appointments.
                                                                          were two Russian nationals that recently arrived that
                                                                          we decided to put at the top of the list.”               San Ysidro (Pedestrian West) Port of Entry -
                                                                                                                                   Individuals without CBP One appointments were not
                                                                          Monitors observed individuals in the “walk up” line      processed at this POE. As noted above, monitors
                                                                          who just recently received a CBP One Appointment.        observed Grupos Beta tell asylum seekers without CBP
                                                                          In reference to this, Bienestar Social staff told a      One appointments that they would not be processed
                                                                          monitor: “I am telling them [asylum seekers] that if     without appointments. In addition, Grupos Beta
                                                                          they are given a CBP One appointment and try to          screened individuals with CBP One appointments by
                                                                          walk up [at a different time than their scheduled        reviewing their ID documents and confirming their
                                                                          appointment],      CBP    won’t     take    them.”       identity against their CBP One appointment
                                                                                                                                   information. Grupos Beta will not walk individuals who
                                                                          Previously, between May 12 and May 20 2023, the          lack an appointment on that date or corresponding
                                                                          queue outside the port was self-organized by asylum      identity documents up to the gate to access the
                                                                          seekers without CBP One appointments.                    Pedestrian West side of the San Ysidro port of entry.
                                                                                                                                                                                              Case 4:18-cv-06810-JST Document 181-2 Filed 06/23/23 Page 72 of 74
 Annex: Limits on Access to Asylum After Title 42 – June 2023                                                                                                                         9


Humanitarian        Puente Zaragoza (Ysleta Port of Entry) - As of early    Dennis DeConcini Port of Entry - As of May 25, 2023,    San Ysidro (Pedestrian East) Port of Entry - Between
Conditions          June 2023, 30 to 50 people were in an informal          there were approximately 60 individuals without CBP     May 31 to June 2, 2023, an encampment of 200 to 250
                    encampment of asylum seekers without CBP One            One appointments sleeping outside the POE in            asylum seekers without CBP One appointments (over
Observed in         appointments near the Zaragoza Bridge that leads to     Mexico. Individuals paid 10 pesos (approximately        25 percent of whom were children) waited for access
Informal            the Ysleta port of entry. Adults and families with      0.60 USD) to access a bathroom in a shop nearby but     to asylum by the POE. Monitors noted medical needs
Encampments in      children slept on the ground on pieces of cardboard     did not have access to showers or other facilities to   including children with high fever and a cough given
Mexico of People    and blankets during a period with low nighttime         bathe. Previously, between May 14 and May 25, 200       cold weather conditions and high-risk pregnancies; as
                    temperatures. Monitors noted children with apparent     to 250 individuals were camped outside the POE.         well as need for basic humanitarian assistance (food,
Waiting to Access   symptoms of anxiety and stress, as well as children     Monitors spoke with several pregnant women as           water, blankets, trash bags, sanitary napkins). A 31-
Asylum at U.S.      sick with colds. Monitors noted National Guard and      well as individuals with physical and mental            year-old Haitian asylum seeker with hypertension and
Ports of Entry      Military presence, observing at the camp site.          disabilities. During the day individuals reported       a high risk pregnancy, who had previously been denied
                                                                            fatigue from the heat and being thirsty and hungry      assistance at local hospitals in Tijuana, declined an
                    Near the Stanton-Lerdo International Bridge             and reported being cold at night, especially on rainy   offer by local officials for a care referral for fear that
                    (Stanton Street Port of Entry) - As of May 22, 2023,    days when they and their belongings had gotten          she would lose her place in the informal asylum line at
                    the local government in Ciudad Juárez established a     soaked.                                                 the       San       Ysidro       port      of       entry.
                    camp next to the bridge leading to the Stanton Street
                    Port of Entry where 250 to 300 people were sleeping                                                             On June 2, 2023, monitors noted that Tijuana
                    in tents. Individuals bathed on the roadside until                                                              municipal authorities including the Office of Migrant
                    water was installed within the camp but there was no                                                            Affairs referred and transported asylum seekers in the
                    designated space for individuals to bathe privately.                                                            encampment near the port of entry to government run
                    There are no separate sleeping areas for men and                                                                temporary shelters, including one approximately 5
                    women. Individuals were given a water bottle and a                                                              miles south east of the POE in the Reforma Sports
                    can of tuna three times a day. Health needs were                                                                Complex as well as the newly established Centro
                    observed among the population, but I/NGOs were not                                                              Integral para las Familias shelter.
                    permitted access to provide health and/or other
                    services. Monitors noted Mexican National Guard and
                    Military presence, who were monitoring the site.

                    Parque El Chamizal (Bridge of the Americas Port of
                    Entry) - As of early June 2023, monitors observed an
                    encampment of individuals and families without CBP
                    One appointments in the park, waiting to access
                    asylum at the Bridge of the Americas Port of Entry.


Nationalities of
People Waiting to
Seek Asylum         Afghanistan, Brazil, China, Colombia, Cuba, Ecuador,                                                            Colombia, El Salvador, Guatemala, Haiti, Honduras,
Without CBP One     El Salvador, Guatemala, Honduras, India, Mexico,        Colombia, Cuba, Ecuador, El Salvador, Haiti,            Kazakhstan, Kyrgyzstan, Mexico, Nicaragua, Nigeria,
                                                                                                                                                                                                 Case 4:18-cv-06810-JST Document 181-2 Filed 06/23/23 Page 73 of 74




Appointments        Nicaragua, Peru, Venezuela                              Honduras, Mexico, Russia, Venezuela                     Pakistan, Russia, Tajikistan, Uzbekistan, Venezuela
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